Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 1 of 30




                EXHIBIT A
                                                                CHA KUIN TAITEITUS009733811B2
          Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 2 of 30
                                                                                 VAN ON A LA UN MONTON
(12) United States Patent                                                      (10) Patent No.:                 US 9 ,733,811 B2
        Rad et al.                                                             (45) Date of Patent:                      Aug. 15 , 2017
(54 ) MATCHING PROCESS SYSTEM AND                                                                (2013 .01); G06Q 10 / 10 (2013.01); G06Q
     METHOD                                                                                      30/02 (2013 .01); G06Q 50/01 (2013.01);
                                                                                                                    606Q 50/ 10 (2013 .01 )
(71) Applicant: TINDER , INC ., West Hollywood , CA                     (58 ) Field of Classification Search
                   (US )                                                         CPC ........... GO6F 17 / 30867; G06F 17 /3053 ; GO6F
                                                                                                                                     17 /30386
(72 ) Inventors: Sean Rad , Los Angeles, CA (US);                             See application file for complete search history.
                 Todd M . Carrico , Melissa , TX (US );
                 Kenneth B . Hoskins, Plano , TX (US );                 (56 )               References Cited
                   James C . Stone , Addison , TX (US );
                   Jonathan Badeen , North Hollywood ,                                      U . S . PATENT DOCUMENTS
                   CA (US )                                                     6 ,480 , 885 B1 11/ 2002 Olivier
                                                                                7 ,917 ,448 B2       3 /2011 Smola et al .
(73) Assignee : Tinder, Inc., West Hollywood , CA (US)                          8 ,060 ,463 B1      11/ 2011 Spiegel
                                                                                8 ,180 ,804 B1 *     5 /2012 Narayanan et al. .......... 707/798
( * ) Notice : Subject to any disclaimer, the term of this                      8 ,566 ,327 B2 * 10 /2013 Carrico ............. GO6F 17 / 30657
                patent is extended or adjusted under 35                                                                                 705 /319
                 U .S .C . 154 (b ) by 121 days .                        2005 /0021750 AL            1/2005 Abrams
                                                                          2005 /0027707 A1 *         2 /2005 Syed .............    G06Q 30/ 02
( 21) Appl. No.: 14 /059, 192                                                                                                      707 /999 . 009
                                                                          2006 / 0059147 Al 3/ 2006 Weiss et al.
( 22 ) Filed :     Oct. 21, 2013                                                                       (Continued )
((65
  65)               Prior Publication Data                                               OTHER PUBLICATIONS
     US 2014 /0074824 A1 Mar. 13 , 2014                                 USPTO , Non- final Office Action dated Aug. 25, 2011 for U . S . Appl.
             Related U .S . Application Data                            No. 12 / 339 ,301, filed Dec. 19 , 2008 in the name of Todd M . Carrico ,
                                                                        14 pages .
(63) Continuation -in -part of application No . 12/339,301,                                            (Continued )
     filed on Dec . 19 , 2008 , now Pat. No. 8 ,566 ,327 .
                        (Continued )                                    Primary Examiner - Yuk Ting Choi
                                                                        (74) Attorney , Agent, or Firm — Baker Botts L .L .P .
(51) Int . Cl.
        GOOF 1730              ( 2006 .01 )                             (57 )                  ABSTRACT
        G06F 3 /0484           (2013 .01 )                              A method for profile matching includes receiving a plurality
        G060 10 / 10          ( 2012 . 01)                              of user profiles , each user profile comprising traits of a
        G060 30 /02           ( 2012.01)                                respective user . The method includes receiving a preference
        G06Q 50 / 10          ( 2012.01)                                indication for a first user profile of the plurality of user
        G060 50 /00            ( 2012.01)                               profiles . The method also includes determining a potential
        G06F 3 / 0482          ( 2013 .01)                              match user profile of the plurality of user profiles based on
        G06F 3 /0488          ( 2013 . 01)                              the preference indication for the first user profile . The
(52) U .S . CI.                                                         method also includes presenting the potential match user
        CPC ...... . GO6F 3 /04842 (2013.01 ) ; GO6F 3 /0482            profile to a second user.
                  (2013 .01 ); G06F 3 /0488 (2013 .01 ); G06F
                        17/30554 (2013 .01 ); G06F 17/30657                            9 Claims, 11 Drawing Sheets



                                                                ?????




                                                  ww
                                                       VA V

                                                                           w      W   -8
           Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 3 of 30


                                                                US 9 ,733 , 811 B2
                                                                          Page 2

             Related U .S . Application Data                                   USPTO , Final Office Action dated Jan . 6 , 2012 for U . S . Appl. No .
                                                                               12 /339, 301, filed Dec . 19 , 2008 in the name of Todd M . Carrico , 15
(60 ) Provisional application No. 61/ 793,866 , filed on Mar.                  pages .
         15 , 2013 .                                                           Request for Continued Examination Transmittal and Amendment
                                                                               Filed with Request for Continued Examination filed May 7 , 2012
(56 )                     References Cited                                     for U .S . Appl. No. 12/339 ,301, filed Dec. 19 , 2008 in the name of
                                                                                Todd M . Carrico , 17 pages.
                  U .S . PATENT DOCUMENTS                                      USPTO , Non -final Office Action dated Oct. 2 , 2012 for U . S . Appl.
 2006 / 0085419 A1          4 / 2006 Rosen                                     No. 12 / 339 ,301, filed Dec. 19 , 2008 in the name of Todd M . Carrico ,
 2006 /0106780 AL           5 / 2006 Dagan                                     10 pages.
 2007/ 0073687 A1   3 / 2007 Terrill et al.                                    Response to Office Action Pursuant to 37 C . F .R . $ 1. 111 filed Dec.
 2007 /0073803 A1   3 / 2007 Terrill et al.                                    31 , 2012 for U .S . Appl. No. 12 /339 , 301, filed Dec . 19 , 2008 in the
 2008/0196094 A1 *  8/ 2008 Benschop ............ G06Q 20/ 10                  name of Todd M . Carrico , 13 pages .
                                                       726 / 5                 USPTO , Final Office Action dated Mar. 7 , 2013 for U . S . Appl. No .
  2008 /0294624 Al 11/2008 Kanigsberg et al.                                   12 /339 , 301, filed Dec . 19 , 2008 in the name of Todd M . Carrico , 12
 2008 /0301118 A1 12 / 2008 Chien et al.                                       pages.
 2009/0106040 A1 4 /2009 Jones                                                 Response to Office Action Pursuant to 37 C .F. R . § 1. 116 and
 2010 /0125632 A1 * 5/ 2010 Leonard ................. G06Q 10 /10              Certification and Request for Consideration Under the After Final
                                                                709 /204       Consideration Pilot Program 2 .0 filed Jun . 6 , 2013 for U . S . Appl.
 2011/0087974 A1 *          4 /2011 Kulas                      715 /760        No. 12 /339 ,301, filed Dec . 19 , 2008 in the name of Todd M . Carrico ,
 2011/0196927 Al *          8 /2011 Vance                       709 /204       14 pages .
 2012 / 0088524 A1 *        4 / 2012 Moldavsky ............ G06Q 30 /02        USPTO , Notice of Allowance and Fees Due dated Jun . 19 , 2013 for
                                                              455 /456 .3      U . S . Appl. No . 12 /339 , 301, filed Dec . 19 , 2008 in the name of Todd
  2014 / 0040368 A1 *       2 / 2014 Janssens . ......          709 /204       M . Carrico , 12 pages.
  2014 /0074824 A1 *        3 / 2014 Rad                    GO6Q 50 /01        PCT Notification of Transmittal of the International Search Report
                                                                  707 /722     and the Written Opinion of the International Searching Authority , or
                                                                               the Declaration with attached PCT International Search Report and
                      OTHER PUBLICATIONS                                       Written Opinion of the International Searching Authority in Inter
                                                                               national Application No. PCT/US08 /87706 , dated Feb . 10 , 2009, 8
Response to Office Action Pursuant to 37 C .F .R . $ 1. 111 filed Nov .        pages .
23 , 2011 for U . S . Appl. No. 12 / 339, 301 , filed Dec . 19 , 2008 in the
name of Todd M . Carrico , 12 pages .                                          * cited by examiner
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 4 of 30


U . S . Patent                                            Aug . 15 , 2017                        Sheet lof 11                                   US 9 . 733 ,811 B2




                                                                            TERMINAL

                                                                      -- -

                                                                                                                          -
                                                                                                                          -
                                                                                                                                              ATTA
                                                                                                                                              SERVER
                         *



                         *




                         A
                         :
                             ?ure                     :CSSAGE                                                                                   20
                             * sina .       .
                             hhhhhhell re ' ALA                                             2224                                                ·my
                                                                                                                                                      *



               ?




               ?
                                                                 TERMINAL


                                                                                  vers" :
                                                                                                   NETWORK

                                                                                                                                      W
                                                                                                                                          00
                                                                                                                                          20
                                                                                                                                          …
                                                                                                                                          .               rtwomany
                   ??:
                                        AASSESS       *
                                                                                            22 PS. ..                                     e a
                                                                                                                                                for:??



     ??l-Fil                                    awa                          HY
               “




                                   ?
                                        ?
                                        ?




                                                                                                     ?????????????1




                                                                                                         *




                                            DISPLAY                                               ????
                                                                                                                              26
                                                                                                                                     CPU
                                                                                                                                   Airitterrent



                                        INTERFACE
                                                               - - -- - -


                                                                               ?             r



                                                                                             .




                                                                                             .



                                                                                             .




                                                                                             .




                                                                                             .
                                                                                                  ?? ?
                                                                                                   ? ?? ?
                                                                                                         .1

                                                                                                         int                         CP
                                                                                                                                          ?



                                                                                                                                          ?
                                                                                             .


                                                                                             .




                                                                                                         .
                                                                                                         *                                ?




                                                      peansh
                                                                                             .

                                                                                                         *


                         image Yearam                                                                          WhitWHAT




                                                                                                                      FGC
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 5 of 30


U . S . Patent              Aug. 15 , 2017                      Sheet 2 of 11                US 9 ,733 ,811 B2



                     NAME                     PROPERTY 1 PROPERTY 2100
                   a ??? 3 ( a
                 ( an???? ????e ~ ~ 33,
                  Jane Boem 300                                                       ooo
                 Jane Loe300
                 Jane Snoen30e
                     ooOo
                                            FIG . ID
                                           SEARCH RESULTS

                             Jane Doe – 31 |View 3 of134                                    estatecorporato
                       2. Jane Rog_-310 |View ] 33          *
                                                                                      34
                        3. Jane Boe -_ 316 View 33 Ohja
                                   7




                                                                           w
                                                                     ???       ?
                    wwwwwwwwwwwwww


                                            FIG . JE
                             WWW



                                       .

                                                                     Jane Doe
                                                                       Coniact - 35                       12
                                                                               X 36           :
                                                                                              .




                            Born : 10 /01/ 75                                                 do n
                            Hometown : Dallas , TX
                            1.1}{ 3C?????e,        sa?????
                            Dislikes: Body odor, arrogance, football
                                                 **** ***       m



                                            FIG . IF
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 6 of 30


U . S . Patent                                Aug. 15 , 2017                                Sheet 3 of 11                                                                                       US 9 ,733 ,811 B2




                                                                                                                                                                                            A

                          *                         ****

                                                                       SEARCH RESULTS                                                                                                   4 590
                                                                                                                                                                                        0
                                                                                                                                                                                            i.r n
     123
                                                           Jane Doe
                                          1                 a} &                                                                                                                        WOLE
                   ** *
                   wwwwwwwwwwww
                                   * ** * *
                                                           Jane ?????
                                                                Loe
                                                                wwww


                                                                HARRY'S SEARCH RESULTS
                                                                                            wwwwwwwwwwww
                                                                                 Sally recommended her
                                                                                                                                                               - 39
                                                                                                                                                                                         Win6UGRO   FIG . 2

                                                           Jane Doe Recommend                                        37
                                                                              HALOT     .

      125 mm                                  1             ??? ???               puowuogad
                                                                              N .....
                                                           Jane Loe              Recommend
                                                                                                                                                                                           AMA N



                                                            2                                                    LEV                               -             Sen


               < handle >                                                                                  ww                       w                                 . * * ** * *
                 ***                                                        handle >> S                                             Send her an email.
                                                                                                                                     wwwwandamine                          . .    .



                              JA
                                                                            ???? ? } {} 12                                                      ** **** ***                                     * **
                                                                  reply to her e -mail.                                                      Not interested
                                                            WW : *      *         www                                Yo                            ,

                                                                Do you match ?                                   .      .

                                                                                                                     . ..
                                                                                                                            .
                                                                                                                                -. - .
                                                                                                                                WASHION
                                                                                                                                      .
                                                                                                                                    - - --
                                                                                                                                          RIESIS
                                                                                                                                       - . 1 - 1 . U
                                                                                                                                              . . .
                                                                                                                                             -.
                                                                                                                                                     E
                                                                                                                                                       -' .
                                                                                                                                                       .
                                                                                                                                                  . .. .. ..      5547WM         LALU


                                                            Pta?Cat {ity : Hgh                                                                                                                         FIG . 3
                                                                ??}} ??        ???}} ty: }1?????
                Age                                             Values Compatibility : Moderately High
             Location                                           is it late
        Gender/ Age Seeking                                                                  . .   . . .

                                                                                                   VALLIS
                                                                                                            .   . . .               .    1

                                                                                                                                                                           27


                                                You and < handle > both like music , speak German ,
                                        32 .png and mentioned " Play - don ' in your proilles.
                                                                wwwwwwwwwww
                                              ***          wwwwwwwwwwww                                                 wwwww                                                         wwws
sou wou were com
 Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 7 of 30


   atent         Aug. 15 , 2017                     Sheet 4 of 11              US 9 ,733 ,811 B2




 foo7
      14
                                                                                      *




       Y   YYY




                                       NETWORK

                                       FIG . 5


                                  GENERATE POOL 102
                                       VYY1


                                  LY

                                      APPLY FILTER
                                                         ** * * *   *
                                                                         64
                                ww         U   AL    LLLLLLLLLLLLLL



                                  APPLY SCORING
                                      ALGORITHMS

                                TABULATE SCORES                         - 68
                                  ???




                                  APPLY ORDERING
                                www
                                       ALGORITHM      14442              70

                                      PRESENT LIST
                                       OF RESULTS                        72
                        41
                             WWWXXNXNXXm            WWWWWWWWWWWY



                                        WAIT FOR
                                     USER ACTIVITY

                                       FIG . S
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 8 of 30


U . S . Patent                                             Aug. 15, 2017                               Sheet 5 of 11                    US 9 ,733 ,811 B2



                                                                                                                                             *




                  R                                 tinder                                                                       dY          *yot y

      ee
      eeeee
                                                                                                                       NOPE

                                                                                                                   ?                    ?
                      * * * * * * * * * * * ** *       *   *




                                          FIG . 6                                                                       FIG . 7


                                                    tinder
                                                   ?????
                                                                                                                               tinder
                                                                                                           *




                                                                                                           *
                                                                                                           4
                                                                                                                  ThomItyouas 's a match !


              *




                                                                                                                 You and Sally Ideal
              *




                                                                                                                  Send A Message
                                                                                                                   wwwwwwwww       wwwwwww

                                                                                            Y712 2 2
                                                                                            .


                                                                                            .




                                                                                                                       Keep Playing
                                                                                                                                                      94
                                                               i 199999999999999999999999




                                        FIG . 8                                                                         FIG . 9
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 9 of 30


U . S . Patent     Aug. 15, 2017                           Sheet 6 of 11                                                    US 9 ,733,811 B2


                                                                                                            - 1002
                                GENERATE USER POOL
                                 00000000000000000000000000000000         omwwwxwoon
                                                                                                             Bobi
                                                                                                                    1004
                                 DISPLAY USER POOL                                                           HUN
                        RRRRRRRRRRRRRRRRRRRRRRRR                                 * * * * ** **    *


                        wwwwwww                                       ** ** *    * * **               www     .900L
                          RECEIVE USER PREFERENCE                                                            WETR
                                                                                                 1008
                    E                   FIRSTSECONDO
                                  USER LIKES
                                        USER ?
                                                             Motormakatha
                                    1010
   PES     USERSECOND
                 LIKES FIRST                     NO
                USER ?
                  Habitat
                        1012                                                                                               1014
                                                                        STORE FIRST
          LOWLUVI                   1      16



                                                 wos                 USER 'S PREFERENCE
                                                                                                                     m 1016
                                                                                                                                  -0Do0o0m28



                                                                             DO NOT ALLOW
                                                                    www
                                                                                  * *
                                                                                   VIVU                ??            w




                                                                            wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwxxxxxxxxxxxxx



                                                FIG . 10
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 10 of 30


U . S . Patent      Aug. 15, 2017                             Sheet 7 of 11               US 9 ,733 ,811 B2




                                                              me 1102
                         RECEIVE PAIR OF USER
                              IDENTIFIERS

                                           ** ** **
                                                       **




                                                      VALIDATE
                                                               1104
                                                                    NO
                                    ** *
                                5
                          544


                                                      MATCH ?ama              rr
                                                                              r




                          intim 1106                                    www
                                                                              me   4
                                                                                              u 1108
                                                                                       44444444444444



                 ALLOW                                                  DO NOT ALLOW
          COMMUNICATION                                                 COMMUNICATION

                                                      FIG . 111
                                                        *YY
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 11 of 30


U . S . Patent                 Aug. 15 , 2017                           Sheet 8 of 11              US 9 ,733 ,811 B2




                 (              Matchmaker
                                  a        )
                     44444444444444444444444444444 .
                                                                                 @ SentMatches
                                                                                        On




   1206

             Tap on a friend
   1204Q                  Search
                      1919191 * * * * * * * * * *
                                                       * * ** * * * *   **   *




                                                                  **

                                                            *****




   1202      Ashok Kumar




             Richard Miles
                                                        John Stiles
                                                       14




                                                            John Doe

                                                       YohFIG
                                                          ana . LA
                                                                                  DIO         Clark Kent




                                                                                             Steve Rogers
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 12 of 30


U . S . Patent                                             Aug. 15, 2017                                             Sheet 9 of 11                                                US 9 ,733 ,811 B2




                  (     w
                                               Matchmaker
                                               WA         )
                             ??? ?????????????????????????????????????

                               w w               * ***     ** *** * *
                                                                        $ 33
                                                                                                                                    SentMatches  fee

                                                                                                                                      wwwwwwwwwwwwwww




             920
     W




                                                                                         ********* **



     *




                                                                                                                                                                                               1206
             .


             .




             .




     *HV V
                                                                                                                                                                                 4H648
                       Jonathan                                                     Tap on a friend
                               Smith
     HK                                          wwwwwwwwww                     wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww


                                                                                                                                                                                              * 1204
             1
                     Q Search
                  4 444444
                                          WO

                                   4444* * * *     *****   ****** ****** ****    * * *    **       *    ***** ****    * *   *   *       **   *         * *     *            **    *      *




                               w          **

                             **** *
                                                                                               Hei




     1
                                                                                                                                                                   *   **




                                      Y
                                                              ???
                                                              ???
                                                              -




                 Ashok Kumar                                                                   John Stiles                                   Clark Kent                                      L- 1202

                                                                                                                                                        -




                                                                                                                                                             huu


                 Richard Miles                                                                  John Doe                                 Steve Rogers
                                                                                          FIG . 12B
soron----. .
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 13 of 30


U . S . Patent



          W
                                   Aug. 15, 2017                                                                   Sheet 10 of 11                                                                        US 9 ,733,811 B2




- 200
                                   MWYYYYYY




                         (             Matchmaker                                                                                                     B SentMatches
          *




                                                                                                                                                                 Sm

                                               444444444444444 * * * * * * * * * * * * * * * * * * * * * *




                                                                                                                                                                           ****************




          p
          ytyyty



   1206
   1206
                                              ***** *
                                                                                                                           * **********
                                                                                                                                            *


                                       ****




          +
          *




                             Jonathan                                                              Mary Major                                                              Make a Match
                                                                                                                                                                                  Kin on !
                              Smith                *       **           * *** *** *** *** *** *   ** ** ** *** ** **
                                                        * * ** * ** *       *                                                  ** * * * ** ** *              *        wwwwwwwwwwwww                           ,


   12044 ( Q Search
                              EE   E   EEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEE




          +




                                                                                                             *1*




                                                                                                                                             010
   1202
          ver                                                                                                                                                         WY
                                                                                                                                                  *


                                                                                                                                                un



                   Ashok Kumar                                                                         John Stiles                                                                 Clark Kent
                                                                                                                       -




                                                                                                                                            *
                                                                                                                                            *
                                                                                                                                            **
                                                                                                                                             **
                                                                                                                                              *
                                                                                                                                              **
                                                                                                                                               **




                                                                                                                                                                                                                   TR r
                         *
                   ***


                                                                                                                                 *** *

                                                                                                                           *




          GE Richard Miles                                                                                   John Doe                                 WWWW       W
                                                                                                                                                                             Steve Rogers
                                                                                                                                                                                      '       ' ' '' '




                                                                                                   FIG . 120
    Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 14 of 30


U . S . Patent          Aug. 15 , 2017      Sheet 11 of 11               US 9 , 733,811 B2




           w


                            Recent
                                ??????
                                                         A -Z

           w                   Ashok
                               " Hey! How 's it going? My nam ..."
                                                          $ 312
                                                                  DE
                                                                            dilinin 1208



                                John                                   at 1208  1208



           w V AR       V
                               Matched on 12/4

                                Jonathan
                               Matched on 1214
                                 1. Ashok Kumar

                               Ryan
                               Match Pending...
                                                                              - 1208




                    S         by: Sean Rad

           www

           www w




                                         FIG . 12D
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 15 of 30


                                                      US 9,733,811 B2
        MATCHING PROCESS SYSTEM AND                                      comprising traits of a respective user. It also comprises
                         METHOD                                          receiving a preference indication for a first user profile of the
                                                                 plurality of user profiles. It further comprises determining a
                 RELATED APPLICATION                             potential match user profile of the plurality of user profiles
    This application is a continuation -in - part of Ser. No . 5 based
                                                                  The
                                                                        on the preference indication for the first user profile .
                                                                      method   also comprises presenting the potential match
12 /339 , 301, entitled “MATCHING PROCESS SYSTEM                         user profile to a second user .
AND METHOD ," filed Dec . 19 , 2008.
   This application claimsbenefit under 35 U .S . C . $ 119 ( e ) to Receiving a preference indication for a first user profile
U .S . Provisional Application Ser. No. 61/793 ,866 , entitled may include receiving from a third user a recommendation
“ SOCIAL MATCHING SYSTEM AND METHOD ,” filed " of the first user profile for the second user. It may also
Mar. 15 , 2013                                                           include receiving from the second user a preference indica
                                                                         tion for the first user profile. Themethod may further include
                    TECHNICAL FIELD                                      determining a score of a third user profile of the plurality of
                                                            user profiles as a potential match for the second user. Itmay
   This invention relates generally to computer matching 15 also
systems and more particularly to a matching process system       include altering the score of the third user profile based
and method .                                                            on the preference indication for the first user profile .
                                                                          In another embodiment, a method for profile matching
                      BACKGROUND                                        comprises receiving a plurality of user profiles, each user
                                                             20 profile comprising traits of a respective user. The method
   Networking architectures have grown increasingly com - further comprises receiving a request for matches from a
plex in communications environments . In recent years , a first user, the first user associated with a first user profile.
series of protoc ols and configurations havee been
                                              been developed
                                                   developed The method also comprises scoring the plurality of user
in order to accommodate a diverse group of end users having             profiles for potential matching with the first user based on
various networking needs. Many of these architectures have              comparisons of the plurality of user profiles with the first
gained significant notoriety because they can offer the                 user profile. It also comprises identifying a second user
benefits of automation , convenience , management, and                   profile of the plurality of user profiles as a potential match
enhanced consumer selections .                                           for the first user based on the scoring . The method further
   Certain network protocols may be used in order to allow
an end user to conduct an on -line search of candidates to fill          comprises identifying commonality between a third user
a given vacancy. These protocols may relate to job searches , 30 profile of the plurality of user profiles and the second user
person finding services, real estate searches, or on - line profile . In addition, the method comprises presenting to the
 dating. While some believe that on -line dating is simply afirst user the third user profile as a potential match for the
matter of matching supply and demand , there is statistical first user.
 and empirical evidence to suggest that successful on -line    Depending on the specific features implemented , particu
dating entails far more.                                 35 lar embodiments may exhibit some, none, or all of the
   For example , people having similar and /or compatible following technical advantages . Various embodiments may
character traits and values should be matched together.                 be capable of dynamically updating match search results
However, effectively linking two participants together can              based on user activity . Some embodiments may be capable
prove to be a challenging endeavor. Coordinating a relation   of enhancing match search results by reducing the impact of
ship between two like-minded individuals can be a signifi- 40 restrictive user preferences. In addition , some embodiments
cant chore , as there are a number of obstacles and barriers  may provide the ability to evaluate the attractiveness of
that must be overcome.                                      potentialmatches. Various embodiments may be capable of
   One problem that has arisen is that matching services areimporting user profiles from other social-networking sys
limited to searching for matches only within their own tems. Some embodiments may be capable of generating the
platform . Thus , only people who have gone through the| 45 pool of users based on both explicit and implicit criteria
process of signing up for the service are searched for a                 derived from other social networking systems. Other tech
match . One solution to this problem is to have users register           nical advantages will be readily apparent to one skilled in the
in multiple services. This is problematic because it can be
expensive and time consuming for users . Further, the user       art from the following figures , description and claims.
must then visit all of the services to monitor the search
progress: this inefficiency may cause users to give up on the 30       BRIEF DESCRIPTION OF THE DRAWINGS
search process .
   Another problem is that the search results of these ser                   Reference is now made to the following description taken
vices contain many irrelevant entities to the searcher. This              in conjunction with the accompanying drawings, wherein
costs the user of the service time and may deter them from              l ike reference numbers represent like parts, and which :
continuing through all of the search results.      55 FIG . 1A is an overview of one embodiment of the
  Another problem is that large numbers of unwanted matching system ;
communication requests can become a nuisance to the user.             FIG . 13 shows the contents of the terminal from FIG . 1A ;
Too many nuisance requests may deter the user from further            FIG . 1C shows the contents of the matching server from
use of the system . Users with the most attractive profiles are    FIG . 1A ;
oftentimes the ones that receive the most unwanted atten - 60 FIG . 1D is a diagram of a database from FIG . 1C showing
tion . If the users with the most attractive profiles cease to use one embodiment of how a matching server stores a pool;
the system , the quality of the user pool deteriorates,               FIG . 1E is a diagram of the display from FIG . 1B showing
                                                                         one embodiment of the presentation of search results to a
                         SUMMARY                                         user;
                                                                   65      FIG . 1F is a diagram of the display from FIG . 1B showing
   In one embodiment, a method for profile matching com -                one embodiment of the presentation of details of a match
prises receiving a plurality of user profiles, each user profile         result entity to a user ;
         Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 16 of 30


                                                        US 9 ,733,811 B2
  FIG . 2 is a diagram depicting how a user may recommend              browsing ), component, or element capable of accessing one
an entity to another user, in accordance with a particular             or more elements within system 100. Interface 16 , which
embodiment;                                                            may be provided in conjunction with the items listed above ,
   FIG . 3 is a diagram of the display from FIG . 1B depicting         may further comprise any suitable interface for a human user
how the user may be made aware of fate characteristics the 5 such as a video camera , a microphone , a keyboard , a mouse ,
user shares with a match result entity , in accordance with a           or any other appropriate equipment according to particular
particular embodiment;                                                  configurations and arrangements . In addition , interface may
  FIG . 4 is a diagram depicting how two platforms may be              be a unique element designed specifically for communica
searched for a match , in accordance with a particular                 tions involving system 100 . Such an element may be fab
embodiment;                                             10 ricated or produced specifically for matching applications
   FIG . 5 is a flow chart indicating how a result list may be
                                                           involving a user.
generated , in accordance with a particular embodiment;       Display 12 , in one embodiment, is a computer monitor.
  FIG . 6 shows one embodiment of the matching system      Alternatively, display 12 may be a projector, speaker, or
displaying to a user the profile information of a second user;          other device that allows user 14 to appreciate information
   FIG . 7 is a diagram of the display from FIG . 6 showing 15 that system 100 transmits.
the effect of a left swipe gesture ;                              Network 24 is a communicative platform operable to
   FIG . 8 is a diagram of the display from FIG . 6 showing exchange data or information emanating from user 14 .
the effect of a right swipe gesture ;                                  Network 24 could be a plain old telephone system (POTS ).
   FIG . 9 shows the matching system displaying a match of              Transmission of information emanating from the user may
a first user and a second user, in accordance with a particular 20 be assisted by management associated with matching server
embodiment;                                                    20 or manually keyed into a telephone or other suitable
   FIG . 10 is a flowchart depicting a method for enabling    electronic equipment. In other embodiments, network 24
communication between two users of the matching system        could be any packet data network offering a communications
of FIG . 1 based on a mutual expression of approval, in       interface or exchange between any two nodes in system 100 .
accordance with a particular embodiment;                   25 Network 24 may alternatively be any local area network
   FIG . 11 is a flowchart depicting a method for enabling    (LAN ) , metropolitan area network (MAN ), wide area net
communication between two users of the matching system        work (WAN ), wireless local area network (WLAN ), virtual
of FIG . 1 based on a user suggested matching proposal, in    private network (VPN ), intranet, or any other appropriate
accordance with a particular embodiment; and                  architecture or system that facilitates communications in a
  FIGS. 12A - D depict embodiments of a user interface . 30 network or telephonic environment, including a combination
                                                                       of any networks or systems described above . In various
                 DETAILED DESCRIPTION                                  embodiments , network connections 22 may include , but are
                                                                       not limited to , wired and/ or wireless mediums which may be
  Referring to FIG . 1A , one embodiment of a matching                  provisioned with routers and firewalls .
system is shown . FIG . 1A is a simplified block diagram of 35           Matching server 20 is operable to receive and to commu
a system 100 for facilitating an on -line dating scenario in a         nicate information to terminal 10 . In some embodiments ,
network environment. In other embodiments, system 100                  matching server 20 may comprise a plurality of servers or
can be leveraged to identify and to evaluate suitable candi-            other equipment, each performing different or the same
dates in other areas ( e. g . hiring / employment, recruiting , real    functions in order to receive and communicate information
estate , general person searches , etc .) . Users 14 interact with 40 to terminal 10 . Matching server 20 may include software
a matching server 20 through terminals 10 . FIG . 1B is a               and /or algorithms to achieve the operations for processing,
diagram showing, in one embodiment, the contents of ter -               communicating , delivering, gathering, uploading, maintain
minal 10 . Terminal 10 comprises interface 16 ( so that user           ing , and /or generally managing data , as described herein .
14 may be able to interact with terminal 10 ) and display 12 .         Alternatively, such operations and techniques may be
FIG . 1C is a diagram showing, in one embodiment, the 45 achieved by any suitable hardware , component, device ,
contents of matching server 20 . Matching server 20 com - application specific integrated circuit ( ASIC ) , additional
prises memory 26 and at least one CPU 28 .Memory 26 may                software, field programmable gate array (FPGA), server,
store multiple databases , such as databases 26a and 26b . processor, algorithm , erasable programmable ROM
Terminal 10 and matching server 20 are communicatively             (EPROM ) , electrically erasable programmable ROM (EE
coupled via network connections 22 and network 24 .             50 PROM ), or any other suitable object that is operable to
  Users 14 are clients , customers , prospective customers , or    facilitate such operations.
entities wishing to participate in an on - line dating scenario           In some embodiments , user 14 , using terminal 10 , include
and / or to view information associated with other participants        user 14 submitting information to matching server 20 about
in the system . Users 14 may also seek to access or to initiate        user 14 as well as characteristics user 14 is seeking to be
a communication with other users that may be delivered via 55 matched with . Such information may include a user handle ,
network 24 . Users 14 may review data ( such as profiles, for          which may be a combination of characters that uniquely
example ) associated with other users in order to make                 identifies user 14 to matching server 20 . In various embodi
matching decisions or elections. Data , as used herein , refers        ments, matching server 20 may be configured to collect this
to any type of numeric , voice , video , text, or script data , or     information ; for example , matching server 20 may be con
any other suitable information in any appropriate format that 60 figured to ask user 14 to respond to a series of questions.
may be communicated from one point to another.                   Matching server 20 may be configured to receive the infor
   In one embodiment, terminal 10 represents ( and is inclu -          mation submitted by user 14 and create a profile for user 14
sive of ) a personal computer that may be used to access based on that information , storing the profile in memory 26 .
network 24 . Alternatively, terminal 10 may be representative         As an example only , consider a case where user 14 is
of a cellular telephone , an electronic notebook , a laptop , a 65 interested in participating in an on -line dating scenario . User
personal digital assistant (PDA ), or any other suitable device    14 can access the Internet via terminal 10 , travel to a web
(wireless or otherwise : some of which can perform web site managed by matching server 20 , and begin , the regis
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 17 of 30


                                                     US 9 ,733,811 B2
tration process. As part of the registration process, matching     in another embodiment, matching server 20 may provide
server 20 may ask user 14 a series of questions which              user with a way to directly contact the entity , such as sending
identifies characteristics about user 14 . Thus, matching          a message or providing voice or video communication
server 20 may ask about the height, weight, age , location ,       between user 14 and the entity . Even further, matching
and ethnicity of user 14 . It may also ask about the birthplace , 5 server 20 may be configured to allow user 14 to express a
parents, eating habits, activities, and goals of user 14 .         negative preference for the entity through dislike button 36 .
Matching server 20 may further use the registration process        In one embodiment, when , for example , dislike button 36 is
to discover what user 14 may be looking for in a match , such      utilized by user 14 , matching server 20 may remove the
as age , weight, height, location, ethnicity , diet, education ,   entity from result list 31 ; in another embodiment, the entity
etc . Further, matching server 20 may ask user 14 to indicate 10 may be removed from pool 30 of users from which matches
how important certain factors are when looking for a match .       are identified .
For example , matching server 20 may allow the user to                As an example only , consider that user 14 has submitted
indicate which characteristics in a potential match are a          a search request to matching server 20 . Matching server 20
necessity . In another example, matching server 20 may ask ,       may search through pool 30 , identify results, and commu
“ How important is it that your match does not smoke ?” 15 nicate result list 31 to user 14 which would contain other
Matching server 20 may also allow the user to indicate that        users for whom matching server 20 had created a profile and
certain characteristics are not important search criteria . For    who were identified through a search and selection process .
example, when asking user 14 about what height or weight           Next, user 14 may be interested in learning more about Jane
user 14 is seeking in a match , matching server 20 may be Doe , entity 31a ; thus, user 14 would click view button 33
configured to receive “ not important ” as a response . In vet 20 associated with Jane Doe. Matching server 20 would receive
another example , matching server 20 may allow user 14 to          this request and respond by displaying Jane Doe 's profile
rate which factors are important on a numerical scale . For        (stored in memory 26 ), as depicted in FIG . 1F . Next, after
example , matching server 20 may ask user 14 the following :       reading the profile , user 14 may be interested in contacting
" On a scale of 1 - 10, how important is it that yourmatch has Jane Doe; hence , user 14 would click contact button 35 .
the same education level as you ?”' In some embodiments , 25 Matching server 20 would respond by allowing user 14 enter
matching server 20 may specify that any number of ques -       a message that matching server 20 would then communicate
tions or requested descriptions are necessary before regis - to Jane Doe.
tration may be concluded . As an example only, matching           Matching server 20 may even further be configured to
server 20 may require that user 14 communicate the sex of allow user 14 to store a match result entity ; in one embodi
user 14 and the sex user 14 prefers to be matched with . After 30 ment , the system may be configured to allow user 14 to
concluding the registration process , matching server 20 may       utilize favorite button 34 that will add the desired match
store the responses of user 14 as a profile . This sameprocess     result entity into another list. In another embodiment, uti
may be repeated by several different users 14 , causing            lizing favorite button 34 will remove the associated match
matching server 20 to contain a plurality of profiles .      result entity from result list 31.
   FIG . 1D depicts an embodiment in which matching server 35 As an example only , user 14 may decide that he would
20 has a database 26a which contains a pool 30. Each entry         like to save Jane Doe' s profile so that he can review it later.
in database 26a has a pool entity 30a along with information       User 14 may click favorite button 34 , and matching server
concerning that entity . In one embodiment, each pool entity       20 may respond by placing Jane Doe ' s profile into a separate
30a - e represents a user and their profile . In some embodi-      list. Further, matching server 20 may also remove Jane Doe
ments, not all registered users are in pool 30 . As discussed 40 from user ' s 14 result list 31. As a result , user 14 may see
further below , matching server 20 may use a selection             another match result entity populate result list 31 . This is
process for including stored profiles in pool 30 . As depicted     beneficial because it may focus user 14 on evaluating new
in FIG . 1D , in this embodiment , the collection of users and     entities rather than reevaluating previously - known entities
profiles forms pool 30 through which matching server 20            because the entities still appear in result list 31 .
may perform various functions such as searches for matches . 45 In some embodiments, matching server 20 may be con
  Matching server 20 may be configured to search through       figured to generate pool 30 by default according to various
pool 30 and present matches to user 14 . In FIG . 1E , one         characteristics and preferences of user 14 and other users of
embodiment of this presentation is depicted as occurring        the system . Matching server 20 may also restrict entities
through display 12 . In various embodiments , matches may       from being included in pool 30 based on the status of the
be presented to user utilizing other communication schemes , 50 profile , or if user 14 has rejected or blocked an entity .
such as electronic messages (i.e ., e -mail ) or text messages     Matching server 20 may also restrict entities from the pool
(i.e., utilizing SMS). In the depicted embodiment, a result        that have blocked or rejected user 14 . For example , match
list 31 is presented to user 14 . A match result entity 31a in     ing server 20 may not allow profiles that are not in good
a result list 31 may be associated with a view button 33 .      standing to be included in pool 30 . In other embodiments ,
Using interface 16 , user 14 may request thatmatching server 55 matching server 20 may be configured to generate pool 30
20 provide more information about an entity in result list 31      by first choosing seeds. Seeds include, but are not limited to ,
by pressing the associated view button 33. Matching server         profiles that user has sent a message to or profiles that user
20 may then communicate to user 14 more information                14 has expressed a preference for. Each seed is then com
about that entity by retrieving the information from memory      pared to other entities to determine which entities will be
26 . In FIG . 1F , one embodiment of information that match - 60 included in pool 30 . Any suitable method can be used to
ing server 20 provides for user 14 is shown. Using display         determine which entities are included in pool 30 . For
12 , user 14 views an entity from result list 31 . Matching        example , any characteristics or algorithms described herein
server 20 may also provide user 14 with the ability to contact     may form the basis of such a determination . As another
the entity through a contact button 35 . In one embodiment, example , a commonality score may be generated based on
when contact button 35 is utilized by user 14 , matching 65 the comparison between each entity and the seed . In some
server 20 may provide user 14 with contact information of embodiments , this commonality score can be a measure of
the entity such as a telephone number or an e -mail address;       how physically similar the users are to each other. This score
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 18 of 30


                                                    US 9,733 ,811 B2
may be generated based on the number of users that have           alism . Such scales may provide the advantage of improved
expressed a positive preference for both the seed and the         matching through deeper appreciation for the personality of
entity being compared . This score may also be generated         entities in the system .
based on whether the seed and entity have been viewed               In some embodiments, matching server 20 may be con
together in one session ; further, the more times the seed and 5 figured to analyze profile text for categories. It may search
entity have been viewed together, the larger the common          for a number of text strings and then associate the profile
ality score . The law of large numbers may allow for a vast with       any number of categories . As an example only , match
                                                                 ing server 20 may add any profile to the Cat category whose
amount of such commonalties to be established over a few         text contains any of the following strings :
days . Testing has revealed that using such commonality
scoring methods has yielded at least one physicalmatch for 10 Matching
                                                                " cat" " cats" " cat." " cats ." " cat ," " cats,"
                                                                          server 20 may be configured to make it more
80 % of users whose profile has been viewed at least once ,       likely that a profile will be in a result list if categories
and between and 1000 physical matches for 60 % of users           associated with the profile are also categories found in the
whose profile has been viewed at least once . Matching
server 20 may be further configured to allow entities that 15 user
                                              nities that
                                                                   's profile who submitted the search request.
                                                                Matching server 20 may be configured to analyze one or
have a commonality score above a certain threshold to             more portions of the text of an entity 's profile and generate
become a part of pool 30 . Matching server 20 may further         a readability score that may be used in various ways, such
be configured to update pool 30 . In some embodiments,            as in the process of searching for matches for user 14 . In
matching server 20 may do so by creating new seed entities        some embodiments, matching server 20 may analyze factors
based on activity by user 14 , such as indicating a preference 20 such as, but not limited to ; average number of words per
for that entity. Further , matching server may then compare sentence , total number of words with greater than three
the chosen seed entity with other profiles stored in matching     syllables, and total number ofwords in the profile .Matching
server 20 and determine whether those profiles will be            server 20 may also concatenate all of the collected responses
included in pool 30 using a threshold score as described          with a single space between them . It may further break the
above . At least one advantage realized by this embodiment 25 text into sentences , words, and syllables . From these statis
is that user 14 is presented with updated potential matches       tics, matching server 20 may also be configured to generate
which increases the likelihood of user 14 finding a suitable      a readability score by, in one embodiment, taking the aver
match . Another advantage present in certain embodiments is       age of the Flesch Kincaid Reading Ease test, the Flesch
that these updated potential matches have a greater likeli- Kincaid Grade Level test, and the Gunning Fox score . Other
hood of compatibility with user 14 since they are chosen 30 embodiments may utilize any other combination of these or
based on their commonality with entities user 14 has        other tests to determine a readability score . In some embodi
expressed a preference for.                                       ments, analyses may be used to determine the IQ of an
  As an example only, consider the case in which user 14          entity , the grade level of the writing , or how nervous the
has registered , requested a search , and received from match -   entity generally is. An advantage of this embodimentmay be
ing server 20 results list 31. Then , user 14 decides to contact 35 that the system provides user 14 with a metric for determin
Jane Doe and presses contact button 35 . Aside from provid -      ing approximate intelligence of other users. The readability
ing user 14 with the ability to contact Jane Doe , matching       score may be used , for example , in the matching process to
server 20 will designate Jane Doe' s profile as a seed            identify potential matches .
Matching server 20 will then compare Jane Doe 's profile to         As an example only , the Flesch Kincaid Reading Ease
other profiles stored in memory 26 in order to identify other 40 score may be generated by first computing the following
users who may be similar to Jane Doe and thus be a good           intermediate score :
match for user 14 . In this example , matching server 20 will
generate a commonality score for each of these comparisons              206 .835 - (1,015 * [Average Words per Sentence ])
and compare these scores to a preset threshold . If the                   (84.6 * [Average Syllables per Word ])
commonality score is lower than the threshold , that profile 45 Then , the Flesch Kincaid Reading Ease score is determined
will not be added to pool 30 . However, if the commonality        by using the following table :
score is higher than the threshold , matching server 20 will
add this profile to pool 30 . As an example, further assume
that the seed , Jane Doe, is being compared to another entity ,                                            Flesh Kincaid Reading Ease
Susan Smith . Based on the fact that both Susan and Jane 50            Intermediate Score Condition                    Score
have three users ( Tom , Dick , and Harry ) who have expressed                    < 100
a positive preference for their profiles, matching server 20                        < 91
generates a commonality score of 100 for the comparison . In                        < 81
contrast,matching server 20 generated a commonality score                          < 71
of 50 for the comparison between the seed ( Jane Doe ) and 55
yet another entity , Lucy Goosey . This was because only one
user (Bob ) had indicated a positive preference toward both
Lucy and Jane . Continuing the example , matching server 20
is using a commonality threshold score of 70, which results
                                                                                   A <0
                                                                                  Else
                                                                                                                        awGo van
in including Susan ' s profile (whose commonality score was 60
 greater than the threshold score) in pool 30 and excluding The Flesch Kincaid Grade Level may be computed accord
Lucy ' s (whose commonality score was less than the thresh - ing to the following
old score ). Thus, user 14 gets the benefit of having more
entities identified that may be good matches .                     (0 .39 * [ Average Words Per Sentence ]) + (11. 8 * [Aver
    In some embodiments, matching server 20 may be con - 65              age Syllables Per Word ]) – 15 .59
figured to include behavioral scales. These may include The Gunning Fox score may be computed according to the
multi-item scales for materialism and gender-role tradition       following:
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 19 of 30


                                                       US 9 ,733 ,811 B2
                                                                                                     10
      ([ Average Words Per Sentence ] + (([Number of                 as well as how many times that entity has been part of a
          Words With More Than 3 Syllables ]/[Number                 result list in order to impute the level of physical attractive
          of Words In Entire Text]) + 100 ))* 0 .4                   ness . Matching server 20 may further be configured to
As indicated , any suitable tests may be utilized in any              generate a score based on this data . Further, in some
suitable manner to determine a readability score .                 5 embodiments , matching server 20 may impute physical
   In some embodiments, matching server 20 may be con -               attractiveness to an entity based on the imputed physical
figured to allow a user to interact with the result list of           attractiveness scores of other entities. Matching server 20
another user.Matching server 20 may be configured to allow           may compute an average of the imputed physical attractive
a user to express a preference for entities within a result list     ness scores of the other entities weighted by the common
of another user, and to indicate to the other user of this 10 ality score between each of the other entities and the present
preference . Thus, a user may be able to get advice from a            entity . Empirical data indicates that people are more likely
friend regarding what other users may constitute good                 to match with people of similar attractiveness . Thus, in many
matches for the user and thus be able to find a better match .        embodiments , a user may obtain an advantage in that they
   As an example only, consider FIG . 1A and FIG . 2 . Two            are able to be presented with potential matches that, accord
users 14 , Harry and Sally , are connected to matching server 15 ing to one measurement, are as attractive as the user.
20 via terminals 10 . Display 12a is used by Harry while               As an example only, consider a registered user, Sally ,
display 12b is used by Sally . Matching server 20 allows             whose profile was created by matching server 20 in January
Sally to view Harry 's result list 31 on her terminal in display      Since that time,matching server 20 has recorded the number
12b . By pressing recommend button 37 . Sally may indicate          of times Sally ' s profile has appeared in any user ' s result list
a preference for one or more of the entities in result list 31 . 20 31 ; assume that this has occurred 10 times . Further, match
Assume Sally presses recommend button 37 associated with            ing server 20 has also recorded the number of times a user
Jane Joe. After doing so , matching server 20 will notify has viewed Sally 's profile by clicking view button 33
Harry of Sally 's preference . On Harry ’ s display 12a , match - associated with Sally 's profile ; assume that this has hap
 ing server 20 will cause notification 39 to appear, associating pened 5 times . In this manner, matching server 20 has
 it with Jane Joe. Notification 39 will indicate to Harry that 25 constructed a ratio that represents the imputed physical
Sally has recommended Jane Los as a potential match .Harry        attractiveness of Sally ' s profile . Still further, assume that
may find Sally 's preference helpful in determining which Harry, a registered user, now submits a query. Matching
entities he should pursue further if, for example , he believes       server 20 has evaluated the imputed physical attractiveness
Sally understands the type of person he is looking for.               ratio of Harry ' s profile . When evaluating Sally ' s profile for
   In one embodiment, matching server 20 may be config - 30 inclusion in result list 31 returned to Harry , matching server
ured to analyze the profiles of both user 14 and the entities         20 will compare the imputed physical attractiveness of
in pool 30 for keywords . Matching server 20 may be                   Sally 's profile and Harry ' s profile . The more similar the
configured to search through the profile of user 14 for               ratios associated with Harry and Sally ' s profiles are to each
keywords that relate to things such as activities and interests.      other, the more likely it is that Sally 's profile willbe selected
Matching server 20 may generate a score for each entity in 35 by matching server 20 to be in Harry 's result list 31 . In
pool 30 based on a comparison between the list ofkeywords another example, assume that Sally ' s profile has not been
found in user's 14 profile and a similarly - generated list of        registered long enough to generate a meaningful imputed
keywords of each entity in pool 30 . In one embodiment, this         physical attractiveness ratio . Matching server 20 may then
is accomplished by storing a list of words in memory 26 , and         generate an imputed physical attractiveness score based on
using it to identify keywords in the searched profiles. In 40 entities that Sally does have commonality scores with . This
some embodiments , identified keywords may be used as a       computed average may be weighted by the strength of the
means of weighting various scores. As an example only , a            commonality score between Sally and each entity with
profile that contains the word “ God ” may be weighted much          whom she has a commonality score . Continuing the
differently than a profile which has merely indicated that            example , assume that Sally has a commonality score of 5
their religious preference is Christian . In various embodi- 45 with Lucy and 10 with Julia . When matching server 20
ments, this may provide an advantage to user 14 in that user computes the Sally ' s average , it will give twice as much
14 is able to determine how similar he/she is with a potential        weight to Julia 's imputed physical attractiveness score than
match . In addition , the keyword analysis may be used by the         to Lucy ' s.
system when searching and identifying matches for a user.                In some embodiments, matching server 20 may be con
   As an example only , consider two registered users , Harry 50 figured to make an entity in result list 31 more appealing to
and Sally , both of whom have profiles stored in matching            user 14 by pointing out coincidences in the profile data that
server 20 . Matching server 20 then analyzes each of these           give user 14 a sense of fate with the entity . In one embodi
profiles by comparing it to a list of predefined keywords.           ment , matching server 20 may be configured to search for
Matching server 20 then associates each word that matched             similar initials, birthplaces , birth dates , birth month , birth
the list of keywords with each profile . Now assume that 55 year, university , first names, last names, user handles , paren
Harry performs a search . While fulfilling Harry 's query ,           tal occupations, and keywords to identify users who may
matching server 20 evaluates Sally ' s profile for inclusion in       give another user a sense of fate . In other embodiments ,
Harry ' s result list 31. This evaluation includes comparing         matching server 20 may use the fate characteristics as a
the list ofkeywords found in Harry ' s profile to the keywords metric in the matching process .
found in Sally ' s profile . The more keywords that Harry and 60 As an example only, assume that Harry is a registered user
Sally have in common , the more likely it will be that who has performed a search . After matching server 20
matching server 20 will include Sally 's profile in Harry 's    returns a result list, Harry chooses to learn more about one
result list 31.
re                                                                    of the entities in the result list and clicks view button 33 .
   In some embodiments , matching server 20 may be con -             Consider FIG . 3 , which is only an example of information
figured to impute a level of physical attractiveness to an 65 thatmatching server 20 may return to Harry after clicking
entity in pool 30 . Matching server 20 may be configured to   view button 33 . In Harry ' s display 12, matching server 20
monitor how frequent an entity in pool 30 has been viewed presents certain details about the profile. In particular,
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 20 of 30


                                                      US 9 ,733,811 B2
                                                                                                     12
matching server 20 presents to Harry a fate notification 32           matching server 20 examines Sally 's profile in pool 30, and
which points out specific similarities between the profile of         determines that the stated locations of Harry ' s and Sally ' s
the entity and Harry 's profile. Reading fate notification 32          profiles are 13 miles apart. Matching server 20 will give
gives Harry a sense of familiarity which enhances his                  Sally ' s profile a score as if the distance between them were
appreciation for the profile .                                      5 only 10 miles. However, in yet another example . Sally ' s
   In another example , fate characteristics may be used to           profile may indicate that she lives 50 miles away from Harry.
decide whether a profile in pool 30 is included in user ' s 14         Yet, matching server 20 also notes that both Harry and Sally
result list 31 . Assumethat Harry is a registered user who has        make $ 100,000 per year, have Master 's degrees, and that
submitted a matching query to matching server 20 . While              Harry and Sally are one year apart in age (Harry is older ).
determining which entities to include in Harry 's result list, 10 Given these similarities, matching server 20 will give a score
matching server 20 considers two profiles ; Sally and Roxy. to Sally ' s profile that is consistent with a 20 mile difference
Sally and Harry both have the same birth date , initials , and in location even though they are actually 50 miles apart. In
have parents that work in the same profession . In contrast.          this manner, matching server 20 takes into account empirical
Roxy and Harry only share the same birth place . Matching              data that shows that people searching for matches who
server 20 may be configured to award more points to Sally 15 indicate that they want to see matches who live close to them
than to Roxy based on these comparisons, making it more                are still willing to pursue a potential match that lives far
likely that Sally 's profile will be included in Harry 's result      away if the potential match fits very closely with the other
list.                                                                 search criteria .
    In some embodiments , matching server 20 may be con                  In another embodiment, matching server 20 may be
figured to evaluate the likelihood of contact between user 14 20 configured to evaluate the age difference between user 14
and an entity in pool 30 . Matching server 20 may be                  and pool entity 30a using ranges as well as a sliding scale .
configured to compare demographic data between user 14                By way of example only , matching server 20 may be
and pool entity 30a . In another embodiment, matching                  configured to assign a high value to an age difference
server 20 may be configured to weigh the demographic between 0 and - 5 , while assigning a lower value to an age
similarities and differences based on the sex of user 14 . The 25 difference between + 2 and 0 . An even lower value may be
demographic data may include, but is not limited to , age , assigned to an age difference between - 6 and - 8 . Even lower
education , ethnicity, income, and location .                          values would be assigned incrementally as the age difference
   As an example only , assume that Harry and Sally are                increases outside of the ranges discussed . The higher the
registered users who have profiles in matching server 20 .             assigned value is , the more likely it will be that pool entity
Harry has submitted a search request to matching server 20 . 30 30a will be included in result list 31 . Yet another embodi
While fulfilling this request, matching server 20 evaluates ment may apply this combination of ranges and a sliding
Sally 's profile since her profile is in pool 30 . As part of the     scale but use different values and ranges depending on the
evaluation , matching server 20 looks at the differences              sex of user 14 .
between Harry and Sally ' s stated age , income, education,              As an example only, consider a situation in which a
ethnicity , and location . In this example , Harry is 10 years 35 registered user, Harry, requests a search to be performed .
older than Sally , makes $ 10 , 000 more per year, and has a           While fulfilling this request, matching server 20 evaluates
Master' s degree while Sally has a bachelor's degree . Even            Sally 's profile, which was in pool 30 . As part of the
with these disparities , matching server 20 will give Sally ' s        evaluation , matching server 20 compares the ages of Harry
profile a high score which makes it more likely that Sally ' s         and Sally , and determines that Harry is two years older than
profile will appear in Harry ' s result list. However, if it was 40 Sally ; this determination leads to matching server 20 assign
Sally who submitted the search , and matching server 20 was            ing, in this example , points to Sally 's profile . Matching
evaluating Harry 's profile , a different score is possible . So,      server 20 may also be configured to assign 50 points to
if it were Sally who was 10 years older, made $ 10 ,000 more          Sally 's profile had she been five years younger than Harry ;
per year, and had a Master 's degree while Harry had a                but, if she had been up to two years older than Harry ,
Bachelor' s degree , matching server 20 would give a low 45 matching server 20 may have been configured to assign 40
score to Harry ' s profile, making it less likely that his profile points to her profile . Matching server 20 may be further
would appear in Sally 's result list. Matching server 20 may       configured to assign 30 points to Sally ' s profile if she was 6
be configured this way because empirical data has shown to 8 years younger than Harry . However, if Sally were more
that these demographic differences do not have an equiva - than 8 years younger than Harry , matching server 20 may be
lent effect on the choices men and women make regarding 50 configured to further decrease the number of points assigned
matches .                                                             to her profile : if she was 9 years younger, then 25 points; if
   In another embodiment, matching server 20 may be                   she was 10 years younger, 20 points; if she was 11 years
configured to compare the locations of user 14 and pool               younger, 15 points , etc . The more points assigned to Sally ' s
entity 30a in increments of ten miles . In yet another embodi-        profile , the more likely it is that her profile will appear in
ment, matching server 20 may be configured to score the 55 Harry ' s result list. Thus, matching server 20 may be con
location comparison in light of other factors; as an example , figured to assign a score based on age difference using a
matching system 20 may be configured to return a score         combination of ranges and a sliding scale .
consistent with a 10 mile difference in location even though      In another example ,matching server 20 may assign scores
there is a 50 mile difference between user 14 and pool entity  differently if it was Sally who was searching and if it was
30a if user 14 and pool entity 30a have the same income, 60 Harry 's profile that was being evaluated . In this example ,
education , and age . An advantage realized in several                matching server 20 may be configured to assign Harry ' s
embodiments is that it better approximates how a user                 profile 50 points if he were between 1 and 5 years older than
evaluates entities. Entities that live further away are gener-        her. If he were 6 to 8 years older than her, matching server
ally less appealing to a user; but, users may still be interested      20 may assign 45 points . If he were greater than 8 years
if the entity matches their preferences in other categories. 65 older than her, matching server 20 may assign points in the
   As an example only, consider a registered user, Harry ,      following fashion : if he was 9 years older, 40 points would
who submits a search request. While fulfilling this request, be assigned ; if he was 10 years older, 35 points would be
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 21 of 30


                                                      US 9 ,733,811 B2
                               13                                                                        14
assigned ; etc . However, if he was up to two years younger            server 20 may then examine Harry 's profile to determine a
than Sally , matching server 20 may assign 50 points to his            similar average . If Harry 's profile has an average close to 6 ,
profile . If he were more than two years younger, matching             it will be more likely that matching server 20 will include
server 20 may assign less points on a sliding scale : 45 points        Sally 's profile in Harry 's result list. If Harry 's profile
if he were 3 years younger, 40 points if he were 4 years 5 average is lower than 6 , it will be less likely that Sally ' s
younger, etc . The more points assigned to Harry ' s profile , profile will be included in Harry 's result list . If Harry ' s
the more like it is that his profile will appear in Sally ' s result profile average is greater than 6 , it will be even less likely
list. This example illustrates how matching server 20 may be           that Sally 's profile will be included in Harry ’s result list. The
configured to take the sex of user 14 into account when more Harry ' s profile average deviates from that of Sally 's ,
scoring based on age differences .                     10 the less likely it will be thatmatching server 20 will present
   In various embodiments , matching server 20 may be                  Sally ' s profile in Harry ' s result list .
configured to evaluate the attractiveness of an entity in pool            In some embodiments, matching server 20 may be con
30 through collected feedback from other users . In one                figured to analyze profile information and received activity
embodiment, matching server 20 may present an entity to                information to construct “ pairs" which link at least two
user 14 , prompting user 14 to rate the attractiveness of the 15 profiles. These pairings may also be associated with a value
entity on a scale from 1 - 9 . This range gives the advantage of that ascertains the quality of the pairing . For example , a
having a midpoint. Matching server 20 may further be                   pairing which results from one user viewing the profile of
configured to collect such responses and store them ; in one           another user may be assigned a value that is less than a
embodiment, matching server 20 may store the data in                   pairing which results from a first user viewing the profile of
memory 26 , using a structure such as database 26b . Match - 20 a second user when the second user has also viewed the first
ing server 20 may further be configured to compute the                 user 's profile . Matching server 20 may use these pairings in
average of such responses for the entity , and store this              order to generate search results for entities within and
number as well . In various embodiments, these values may              outside of the pairing. Each member of the pair may be used
be used in order to help in the matching process . Empirical as a seed entity for generating search results for users in
data indicates that people are more likely to match with 25 matching server 20 . In various embodiments , an advantage
people of similar attractiveness. Thus, in various embodi-   may be realized as matching server 20 analyzes many of
ments, users whose attractiveness rating are similar will be           these pairs to develop dynamic results to users of the system ,
more likely to appear in each other' s result list . Further, a        the results being potentially more relevant as matching
user may indicate that they only want profiles in their result         server 20 leverages the interaction between users and pro
list whose average attractiveness rating is higher than an 30 files to generate search results .
indicated threshold .                                            Pairs may be formed from a variety of user activity
  As an example only, assume registered user, Harry , uses             received by matching server 20 . This activity may include :
terminal 10 , which in this example is Harry ' s personal              profile views, mutual profile views, one - way double blind
computer, and establishes communication with matching                  communication , mutual double -blind communication ,
server 20 . In this example , this communication occurs by 35 declining double blind communication , one way wink ,
Harry using a Web browser to access a Web page controlled              mutual wink , expressing disinterest in response to receiving
by matching server 20 . Sometime after visiting the Web                a wink , one way favorite , andmutual favorite. Other suitable
page , matching server 20 may present Harry with an option             activity may also be received by matching server 20 and
to rate the physical attractiveness of other users registered          utilized as a basis for generating pairs .
with matching server 20 . Using display 12 and interface 16 , 40          For example, Harry may be a registered user who has
Harry may view profiles of registered users and rank them              expressed a positive preference for Sally . Matching server
on a scale of 1 - 9 by entering the values using interface 16 ;        20 may be configured to generate a pair which includes
in this example , interface 16 comprises a mouse and/ or a             Harry and Sally . Matching server 20 may utilize this pair
keyboard . After submitting this rating , matching server 20 when providing search results to other users. Betty may have
will associate it with the profile and store it.Matching server 45 requested matches , and Betty may be similar to Sally .
20 will also allow other users to rate profiles , thereby Matching server 20 may present Harry in Betty 's result list
collecting a plurality of rankings for profiles . Matching             as a result of the pairing between Harry and Sally . Further.
server 20 may use this data when trying to find matches for            Jim may have executed a search and Jim may be similar to
users . One example of this is that matching server 20 may Harry . As a result of the pairing between Sally and Harry ,
allow user 14 to specify that he/she is searching for profiles 50 matching server 20 may present Sally in Jim ' s list of search
which have an average rating of 6 or above. In turn ,                  results .
matching server 20 may populate user's 14 result list from                In some embodiments , matching server 20 may be con
the pool only with profiles whose average rating is at 6 or            figured to encourage user 14 to interact with entities in pool
above . Another example of how matching server 20 may use              30 . For example ,matching server 20 may present a list of
this data involves making it more likely that an entity will 55 limited entities from pool 30 to user 14 , butnot present other
appear in a user ' s result list if the entity and that user have      entities to user 14 unless user 14 interacts with the already
a similar average attractiveness rating . So, if a user has an         presented entities. Possible interaction with these entities
average rating of 6 , then an entity with an average rating of         may include viewing more information regarding the entity ,
5 may be more likely to appear in the user's result list than          expressing a positive or negative preference for the entity ,
an entity with an average rating of 2 .                             60 and choosing to contact the entity . Other suitable forms of
  In another example , assume that Harry is a registered user          interaction may also be utilized . For example , matching
and has requested a search . While fulfilling this request,            server 20 may prompt the user with a question about the list
matching server 20 evaluates Sally 's profile . As part of this of entities, such as asking whether or not the user likes the
evaluation , matching server 20 notices that Sally 's profile     entity . Responses to such prompts may include " yes,"
contains feedback from other users ranking the attractive - 65 “maybe,” “ no,” “ remove ,” and “ remove other.” The pre
ness of Sally ' s profile . Matching server 20 , in this example, sented entities may be chosen using a variety of methods .
averages that data ; Sally ' s profile average is 6 . Matching For example , the presented entities may be chosen based on
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 22 of 30


                                                      US 9 ,733,811 B2
                               15                                                                  16
various scoring algorithms as described above. In addition ,           In another embodiment, matching server 20 may be
presented entities may be chosen using predictive analysis , configured to allow users of social networking platform to
such as logistical regression . Other techniques may be used interact with matching server 20 using social networking
to determine the presented entities. For example, entities that platform 50 . This level of integration provides the advantage
have been presented previously may be excluded . As 5 of users not having to learn and sign up for a different
another example, entities that have been blocked by user 14 platform .
may also be excluded . In various embodiments , a combina-             Social networking platform 50 , in one embodiment, may
tion of these techniques as well as others may be used to           be a service which stores profiles of its users . This service
determine the limited number of entities presented to user
                                                         may be further configured to provide access to the stored
14 .                                                  10 profiles. In one embodiment, social networking platform 50
   For example , Harry may be a registered user of the may also allow other services to interact with users of social
matching system . Matching server 20 may be configured to           networking platform 50 through social networking platform
present to Harry a list of five entities that Harry must interact   50 .
with . Once Harry has interacted with these entities ,match            In one embodiment, matching server 20 may be config
ing server 20 may present five more entities for Harry to 15 ured to collect requests from users of social networking
interact with . Previously , Harry has blocked Sally, another       platform 50 and perform a search through pool and set 52.
registered user of the system . As a result, matching server 20     Matching server 20 may further be configured to present the
may exclude Sally from being presented to Harry in the list         results of this search from within social networking platform
of five entities . Further , Harry has already interacted with      50 . Matching server 20 may further be configured to present
Betty , another registered user of the system : Harry sent a 20 entities in the search result from pool 30 as if they were
message to Betty utilizing matching server 20 . As a result,        entities of set 52 ; in one embodiment, matching server 20
Betty will be excluded from being presented to Harry in the         may be configured to generate profiles of entities from pool
list of five entities.Matching server 20 may then choose two        30 into set 52. Thus, users of social networking platform 50
of the five entities using scoring algorithmsdescribed above .      may view all of the entities in the search result , regardless
For example , matching server 20 may choose Alice and Amy 25 of their source ( either from pool 30 or set 52 ), within the
to be presented in the list of five entities because Alice and      environment of social networking platform 50 .
Any have received high scores when their profiles were                As an example only , consider two users : Harry, for whom
compared to Harry 's profile . Matching server 20 may               matching server 20 has created a profile , and Sally , who has
choose the remaining three entities using predictive analysis.   a profile stored in social networking platform 50 . From
According to this example , matching server 20 may use 30 within social networking platform 50 , matching server 20
logistical regression to identify Carla . Christi, and Camela as presents to Sally the ability to perform a search which Sally
the other three entities to present to Harry . Thus , in this    uses . The results of this search are presented to Sally within
example , Harry is presented with a list of five entities by     social networking platform 50 . In this example , Harry ' s
matching server 20 . Matching server 20 may not present             profile is displayed to Sally as a search result along with
another set of five entities until Harry has interacted with 35 other entities from set 52 though Harry ' s profile was from
these five entities . Harry may interact with these entities in     pool 30 . In this example , matching server 20 uses the
a variety of ways. For example, Harry may send a message            algorithms discussed herein and searches through the pro
to Alice and send a " wink ” to Amy. In addition , Harry, may       files stored in pool 30 and set 52. In order to display Harry ' s
choose to view more information about Carla 's profile , but        profile to Sally, matching server 20 creates a profile in set 52
express a negative preference towards Christi and Camela . 40 using the data stored in Harry 's profile in pool 30 . Sally is
After matching server 20 receives these types of interaction      then able to interact with this newly created profile from
with the presented five entities , another set of five entities within social networking platform 50 in the samemanner as
may be presented to Harry.                                        she is other entities in set 52 .
   In this example , matching server 20 may further he             I n another embodiment, matching server 20 may be
configured to process the user interaction provided by Harry . 45 configured to allow its users to interact with social network
For example ,matching server 20 may utilize Alice 's profile ing platform 50 through matching server 20 . In one embodi
as a seed entity to generate other possible entities to present m ent, matching server 20 supplements pool 30 with set 52.
to Harry since Harry sent a message to Alice . Thus, a benefit      In yet another embodiment , entities from set 52 appear as
is from presenting a the five entities to Harry in that the         entities of pool 30 to the user in their list of search results .
interaction between Harry and these entities may be utilized 50 In one embodiment, matching server 20 may be configured
by matching server 20 to generate other entities for matching       to generate profiles within pool 30 from entities of set 52; the
to Harry . This serves as an example of how preferences may         system may be configured to do so through capabilities
be identified based on user behavior.                               provided by social networking platform 50 , such as an
   In FIG . 4 , one embodiment is disclosed wherein matching        application programming interface .
server 20 , with pool 30 , may be configured to interact with 55       As an example only, consider two users: Harry, whose
another platform , such as social networking platform 50 ,          profile is stored in matching server 20 , and Sally , whose
containing a set 52 of users . Users 14 are communicatively         profile is stored in social networking platform 50 . Harry
coupled to matching server 20 and social networking plat-           submits a search request to matching server 20 . Matching
form 50. Matching server 20 may further be configured to            server 20 may return result list 31 to Harry , which , in this
provide users of social networking platform 50 a service by 60 example , contains an entity representing Sally ' s profile .
which they may search for users within set 52 or within pool        Matching server 20 may accomplish this by creating profiles
30 using the algorithms and processing of matching server           in pool 30 that correspond to the profiles found in set 52 .
20 . Matching server 20 may even further be configured to Once these profiles have been imported into pool 30 , match
allow users of matching server 20 to search through pool 30   ing server 20 may then search through pool 30 . While doing
and set 52 . Matching server 20 may be configured to parse 65 so , matching server 20 applies the algorithms and scores
the profiles of the entities in set 52 , collecting data and  discussed herein . Thus, in this example , matching server 20
applying algorithms.                                          has been configured to both search and apply scoring
         Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 23 of 30


                                                           US 9 ,733,811 B2
                                   17                                                                      18
algorithms to entities in pool 30 and set 52 . Further, in one                                          -continued
example, Harry is not able to distinguish that Sally 's profile
was originally stored in social networking platform 50 .                   Condition
                                                                                                                     Number of Points for
                                                                                                                          Ordering
Rather, matching server 20 presents Sally 's profile in the
samemanner as other profiles stored in pool 30 . Thus , in this 5          Same answer for " pets ”                         +65536
example , Harry may use favorite button 34 , view button 33,               Same answer for politics
                                                                           Same answer for relationship
                                                                                                                             + 8192
                                                                                                                                 +0
and contact button 35 when interacting with Sally 's profile               status
in the same manner as described above.                                     Same answer for " romance"                         +512
   One advantage present in various embodiments is that a                 Same answer for smoking
                                                                          preferences
                                                                                                                           + 262144
user has a wider pool of entities to search through . Another              Same answer for sports                                +8
advantage is that a user does not have to sign up with several             interests
platforms to search through the users on those platforms.                  Same answer for " system ”                        + 4096
   FIG . 5 is a flowchart illustrating one embodiment of how
result list 31 may be generated . At step 622 ,, matching
                                                 matching server
                                                          server 15     As an example only, consider a registered user, Harry ,
20 generates pool 30 , as described above . At step 64 ,              who desires to perform a search . Before processing the
matching server 20 applies a filter to pool 30 , removing              request, matching server 20 may ask Harry what sex he is
certain entities ; in various embodiments , this filter is based
                                                             and what sex does he desire to be matched with ; in this
on user ' s 14 own sex and the sex user 14 desires to be     example , Harry responds that he is a male seeking a female .
matched with . At step 66 , matching server 20 may be 20o After doing so , matching server 20 will generate pool 30 as
configured to apply algorithms to pool 30 that will generate
a plurality of scores for each entity in pool 30 . In one described
                                                             to remove
                                                                        above . Next,matching server 20 will apply a filter
                                                                         certain entities from pool 30 . In this example , all
embodiment, these algorithms may include analyzing the          males will be removed from pool 30 since Harry is seeking
text of the profiles of the entities in pool 30 to generate a   a female . Further , all females seeking females will be
readability score , determining how attractive an entity of| 25 removed from pool 30 since Harry is a male . In other
pool 30 is, or measuring how likely it is that user 14 will
contact an entity of pool 30 . At step 68 , matching server 20 examples
                                                                include
                                                                         , other entities that are removed from pool 30
                                                                        entities that Harry has expressed a negative prefer
may be configured to collect all of the scores from step 66 ;         ence for before , or entities that have expressed a negative
in one embodiment, matching server 20 may use database                preference for Harry. After pool 30 has been filtered , match
26b to store all of these scores. At step 70, matching server 3020 ing server applies a variety of scoring algorithms to the
20 may be configured to apply an ordering algorithm which entities remaining in pool 30 . These algorithms may account
will determine the order in which entities in result list 31 are     for various comparisons such as those based on readability,
presented to user 14 . In one embodiment, this ordering likelihood               to contact, fate , and keywords described above .
algorithm is based , in part,on the scoring algorithms applied Matching server          20 will then tabulate these scores , storing
at step 66 . The ordering algorithm assigns points is   toto each
                                                             each 35 them , in this example , in database 26b .Matching server 20
 entity and orders them based on these values, constructing will then determine what            order these entities are presented to
result list 31. An embodiment of this ordering algorithm is Harry            by applying an ordering algorithm . Here , matching
summarized in the following table :                                  server 20 assigns one ordering score to each entity by
                                                                       examining the results of the scoring algorithms. After doing
                                                                   40 so , matching server will present result list 31 to Harry , where
                                        Number of Points for
    Condition                                Ordering                  the order of the entities that appear in the result list is based
                                                                      on the ordering algorithm . In this example , it is possible for
    Readability score 1 point                + 33554432               result list 31 to change . Consider another user, Sally , who
    higher than user                                                   appears in Harry ' s result list. If Harry decides to add her into
    Match result entity has                  + 16777216
    expressed a preference for                                     45 a separate list by using favorite button 34 . Sally will be
    the user                                                          removed from result list 31 (as described above ). However.
    Match result entity has been              + 8388608               Sally will also become a seed entity from which entities may
    recommended by a friend of                                        be added to pool 30 (as described above ). Hence ,matching
    the user
    User has viewed the details               + 2097152               server 20 will update the pool, apply the filters, apply the
    of match result entity
                                              + 1048576
                                                                   50 scoring algorithms, tabulate the results, apply the ordering
    Match result entity has
    commonality with an entity
                                                                      algorithm , and update result list 31 . As another example , an
    user has expressed a                                              entity may update their profile which can change result list
    preference for                                                    31. For example , assume Sally ' s profile had an ordering
    Both have the same ambition
    Both have the same beliefs
                                                   + 128
                                                + 16384
                                                                      algorithm score that placed her within the top 20 entities in
                                                                      result list 31. Sally then changes her profile which results in
    Same answer for Build                           + 64
                                                                      keywords that match Harry 's profile being added to her
    Same answer for Car                              +1
    Both have the same diet                          +4               profile . Matching server 20 will then update her scoring
    Both have the same                         + 131072               algorithms. In this example , the change in Sally 's profile and
    preference for drinking                                           resulting increase in keyword matches with Harry 's profile
    alcohol
    Same answer for Ethnicity                    + 1024            60 significantly increased her score . This was then reflected in
    Same answer for Fear                           + 256              the ordering algorithm as it was also applied to the updated
    Same answer for Hair                             +2               profile . Afterwards . Sally 's profile is now placed within the
    Same answer for Number of                  + 524288               top 5 entities in result list 31 .
    children
    Same answer for morning                         + 32                 In some embodiments, matching server 20 may be con
    Same answer for " must have"                + 32768            65 figured to receive required characteristics from user 14
    Same answer for " night out”                    + 16              regarding a match . User 14 may be allowed to specify such
                                                                      restrictions based upon any number of characteristics ,
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 24 of 30


                                                      US 9 ,733,811 B2
                               19                                                               20
including those described herein . For example , matching           server 20 can use the authentication features provided by
server 20 may allow user 14 to specify that entities that           social networking platform 50 . For example, creating a user
indicate they have children should not be displayed . In            profile on matching server 20 containing false information
another example, user 14 may specify that only entities             becomes harder when the information must come from
between the ages of 20 and 30 should be present in result list 5 another verifiable and peer monitored source such as social
31. In some embodiments, matching server 20 may imple - networking platform 50.
ment these restrictions in step 64 of FIG . 5 in other embodi          In some embodiments , matching server 20 may allow a
ments , however, matching server 20 may refuse to apply             user 14 to propose a match between two of his connections
these restrictions to certain entities based on the character       within social networking platform 50. For example , Harry
istics of the entities . Any number of characteristics, includ - 10 may be friends with both Bob and Sally within social
ing those described herein , may form the basis upon which          networking platform 50 . Harry believes Bob and Sally are a
matching server 20 decides not to apply the restrictions            good match and therefore instructs matching server 20 to
submitted by user 14 . As an example only , matching server         create a match between the two users in user profile pool 30 .
20 may ignore the restrictions if the entity has a high enough      Once matched , matching server 20 allows Harry and Sally
attractiveness rating. In another example , though user 14 has 15 to communicate with each other .
requested that no profiles which are located more than 50            In some embodiments , matching server 20 may be con
miles away should be present in result list 31 , matching           figured to apply a relevance algorithm which determines the
server 20 may include such profiles because those profiles          content and order in which matching server 20 displays
have over 5 matching keywords, a high attractiveness rating ,       potential matches to user 14 . A relevance algorithm may be
and have specified the same life goals as user 14 . Thus, in 20 based on both explicit and implicit signals from user 14 .
some embodiments ,matching server 20 may refuse to apply            Explicit signals include information entered by user 14 as
restrictions submitted by user 14 based on any combination          part of its user profile , such as height, weight, age , location ,
of characteristics or algorithms.                                   income, and ethnicity. Explicit signals may also include
  An advantage present in many embodiments is that                  information about the characteristics user 14 is seeking in a
through taking into account various factors when scoring 25 match , such as gender, hair color, eye color, or occupation .
potential matches and using only very few strict filters, a         Explicit signals may also be entered by user 14 as part of a
large amount of result entities may be returned to the user.        search request. For example , user 14 may request matching
A further advantage is that the ordering algorithm will put         server 20 limit the pool of potential matches to those users
the most relevant search results first, saving the user time.  within a fixed geographic region . Matching server 20 is
   FIGS. 6 - 9 depict embodiments of a user interface pre - 30 operable to compare geographic positions associated with
sented to users of the matching system discussed above with    the plurality of user profiles in user profile pool 30 with a
respect to FIGS. 1 and 4 . According to some embodiments,           geographic position associated with user 14 . Explicit signals
users 14 interact with matching server 20 through interface         may be imported from a social networking platform 50 , such
16 presented by terminal 10 . In addition to the embodiments        as the number of shared entities in a social graph of user 14 .
of interface 16 described above in relation to FIG . 1A , 35 Implicit signals may be based on the behavior of user 14
interface 16 may also comprise a touch screen interface      either within system 100 or other social networking plat
operable to detect and receive touch input such as a tap or         forms 50 . For example , if user 14 has expressed disapproval
a swiping gesture . In some embodiments , matching server           of a user profile in the past, matching server 20 may no
20 may import profiles from other social networking sys -           longer present the disapproved of user profile to user 14 in
tems. This level of integration provides the advantage of 40 future searches. In various embodiments ,matching server 20
users only having to update their profile information in one        may be configured to evaluate the attractiveness of a user in
place . For example , when user 14 updates his profile within       user profile pool 30 through collected feedback from other
social networking platform 50 , matching server 20 is also          users . For example, matching server 20 may rank a user
able to access the updated profile information .                    profile that receives more likes as more relevant than a user
   In some embodiments, matching server 20 may further be 45 profile that receives fewer likes. In particular embodiments ,
configured , as part of the user registration process, to link to matching server 20 may assign a higher relevance to a user
a user ' s existing profile within social networking platform       profile if the other user has previously expressed a prefer
50 . Matching server 20 may be configured to parse the         ence for user 14 . As an example , user Harry may have
profiles of the users in set 52 , e . g ., collecting data and previously expressed a preference for user Sally . If Sally
applying algorithms. For example, matching server 20 may 50 requests a set of user profiles from matching server 20 , and
use explicit signals from social networking platform 50 such   Harry ' s user profile is included in the set,matching server 20
as common friends, common interests, common network , may assign Harry ' s user profile a higher relevance based on
location , gender, sexuality, or age to evaluate potential his expression of preference for Sally . This can result in
matches between users 14 . Matching server 20 may also use          Harry 's profile being presented to Sally sooner than other
implicit signals such as for whom a user 14 expresses 55 wise would have occurred . This may be advantageous in that
approval and disapproval. Implicit signals may also include it can increase the chances of a match without compromising
facial recognition algorithms to detect ethnicity, hair color,      a user's feelings of privacy when expressing preferences for
eye color, etc ., of profiles that user 14 has expressed interest   potential matches. In some embodiments , matching server
in .                                                           20 may be configured to use the fate characteristics as a
   In particular embodiments , matching server 20 may have 60 metric in the relevance algorithm .
users 14 to link their user profiles to an existing profile      In some embodiments, terminal 10 is operable to deter
within social networking platform 50 . Matching server 20 mine its own geographic location by a global positioning
may be configured to generate and add profiles to user              satellite navigational system . Terminal 10 may also deter
profile pool 30 from entities of set 52; the system may be          mine its own geographic location using cellphone-based
configured to do so through capabilities provided by social 65 triangulation techniques . Wi-Fi based positioning system .
networking platform 50, such as an application program -            Global Positioning Satellite (GPS ) system , or network
ming interface . One advantage of linking is that matching          addresses assigned by a service provider.
         Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 25 of 30


                                                     US 9,733 ,811 B2
                             21                                                                  22
   FIG . 6 shows one embodiment of system 100 displaying           suitable object across a screen of terminal 10 . Other suitable
to a user the profile information of a second user. Matching       gestures or manners of interacting with terminal 10 may be
server 20 may be configured to search through its plurality        used ( e. g ., tapping on portions of a screen of terminal 10 ).
of profiles and present suggested matches to user 14 . In FIG .       In some embodiments, matching server 20 creates a
6 , one embodiment of this presentation is depicted as 5 match between two users 14 after both users 14 have
occurring through the display of terminal 10 . In this embodi-     expressed a preference for each other' s profiles using like
ment, a plurality of user profiles is presented to user 14 .       button 86 or the swiping gesture associated with like button
Using terminal 10 , user 14 may request thatmatching server  86 . When matching server 20 creates a match , it may also
20 present a subset of users from user profile pool 30 based provide the matched users with the ability to contact each
on specified search parameters. The display may show an 10 other through a contact button . In some embodiments , when
image of a suggested user and one or more aspects of the            a match is created ,matching server 20 may immediately (or
suggested user 's profile information . In some embodiments,       soon thereafter) present an option to users 14 that have been
the combination of image and one or more aspects of profile        matched to engage in a communication session ( e .g ., a chat,
information is displayed as “ card ” 88 representing the           an SMS message, an e -mail, a telephone call, a voice
suggested user . A set of suggested users may be displayed as 15 communication session , a video communication session ).
stack of cards 88 . User 14 may view information regarding         This may be done in response to a first user 14 expressing
one suggested user at a time or more than one of the               a preference for a second user 14 that has already expressed
suggested users at a time. User 14 may be presented with a         a preference for the first user 14 .
summary of information regarding a suggested user. The                FIG . 9 shows one embodiment of matching system 100
summary may include one or more of: a picture , an icon , 20 displaying a match of a first user and a second user, in
name, location information , gender, physical attributes, hob      accordance with a particular embodiment. Matching server
bies, or other profile information .                               20 may provide first user 14 and second user 14 with each
   In some embodiments , terminal 10 may also display              other's contact information such as a telephone number or
“ information ” button 84 which allows user 14 to request          an e -mail address .Matching server 20 may also provide both
matching server 20 to retrieve and display more information 25 first and second users 14 with a way to directly contact the
about the presented user from user profile pool 30 . In        other , such as sending a message or providing voice or video
addition, user 14 may express approval or disapproval for a        communication between the first and second user. In some
presented user. Expressing approval or disapproval can be          embodiments , direct communication may be initiated by
accomplished through various methods. For example, ter             pressing “ Send a Message” button 92 . Alternatively , a user
minal 10 may display " like " button 86 (represented by a 30 may choose to continue browsing the set of presented users
green heart icon ) and “ dislike ” button ( represented by a red   by pressing “Keep Playing" button 94 .
“ X ” icon ). Pressing like button 86 indicates to matching          For example , user Harry may indicate a preference to
server 20 that user 14 approves of and is interested in            communicate directly with user Sally by selecting like
communication with the presented user. Pressing dislike            button 86 . At this point. Sally is not aware that Harry
button 82 indicates that user 14 disapproves of and does not 35 expressed a preference for her . If Sally also requests match
want to communicate with the presented user. The approval          ing server 20 present her with a set of possible matches ,
preference of user 14 is anonymous in thatmatching server          Harry may appear in her set. Sally may select like button 86
20 does not inform users 14 whether other users have (or perform an associated swiping gesture ) when viewing
expressed approval or disapproval for them .                  Harry ' s profile . Matching server 20 may then notify both
   As an example, consider two registered users, Harry and 40 Harry and Sally that a match occurred . At this point, both
Sally , both of whom have profiles stored in matching server       Harry and Sally are made aware that they each expressed
20 . Harry is at a restaurant and requests matching server 20      approval of each other ' s profile . Matching server 20 then
to presenthim users within a one-mile radius of his location .     enables Harry and Sally to directly communicate with each
Matching server 20 compares a geographic position associ-          Other (e.g ., through a private chat interface ).
ated with Sally with a geographic position associated with 45 In some embodiments , one advantage of a system dis
Harry . If Sally is currently within the one-mile radius of closing preferences of profiles to users when mutual
Harry and matching server 20 determines her profile infor -  approval has occurred is that a user can feel more secure in
mation matches Harry ' s preferences, matching server 20 their privacy knowing that their preferences will be dis
will present Harry one or more aspects of Sally ' s profile  closed to those that have expressed a preference for that user.
information . If other users also meet the search criteria , 50 As an example , a user can avoid embarrassment if their
matching server 20 will present one or more aspects of those       expression of preference for a profile was not reciprocated .
users ' profile information as well. Harry may request more        This may lead to users more actively expressing their
information about Sally by pressing information button 84 .        preferences. Such increased activity can be used by the
Harry may also indicate his preference to communicate              matching system to generate more potential matches or
directly with Sally by selecting like button 86 . In another 55 better rankings of potential matches. In some embodiments ,
example, Harry may expand his search to a twenty - five mile matching server 20 may be configured to allow direct
radius to meet people in his town, not just his immediate          communication between users when there has been a mutual
vicinity .                                                         expression of preference. This may be advantageous
   FIGS. 7 and 8 are diagramsof embodiments of the display because users can avoid browsing, deleting, or responding to
from FIG . 6 showing the effect of a left swipe gesture ( FIG . 60 unwanted messages .
7 ) and the effect of a right swipe gesture (FIG . 8 ) . In one      FIG . 10 is a flowchart depicting a method for enabling
embodiment, users 14 may navigate through the set of               communication between two users of the matching system
presented users by swiping through stack of cards 88 . Users       of FIG . 1 based on a mutual expression of approval, in
14 may also express approval of a presented user by per -   accordance with a particular embodiment .
forming a right swipe gesture or express disapproval by 65 At step 1002 , in some embodiments , matching server 20
performing a left swipe gesture . In some embodiments, user generates a set of user profiles in response to a request for
14 performs a swiping gesture by moving a finger or other          matching from a first user 14 . At step 1004 , matching server
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 26 of 30


                                                      US 9 ,733,811 B2
                              23                                                                 24
20 presents the set of user profiles to first user 14 . Matching   1202 displays a set of connections user 14 has with other
server 20 determines the contents and ordering of the set of       users of, e . g ., system 100 of FIG . 1. Connections may be
users profiles by using, e .g ., the relevance algorithms          based on prior matches created by matching server 20 .
described above in the discussion of FIG . 4 . For example ,       Connections may also be imported from another social
matching server 20 may only include user profiles whose 5 networking platform 50 . Search area 1204 enables user 14 to
contents indicate location within a specified geographical          search for particular connections within system 100 . In some
radius and order the presentation of those user profiles based      embodiments , the search may be limited to just the connec
on the number of mutual friends in common with first user          tions displayed in connection list area 1202 . Suggestion area
14 .                                                                1206 displays the connections that user 14 may use to form
   At step 1006 , in some embodiments, matching server 20 10 a suggested match .
receives an indication of the preference of first user 14           FIG . 12B illustrates suggestion area 1206 displaying a
regarding a presented user profile . Matching server deter -     first selected user i.e ., “ Jonathan Smith " ) of a proposed
mines if first user 14 expresses approval or disapproval of match between two users. User 14 identifies the first selected
the presented user profile at step 1008 . If first user 14       user through a set of interactions with connection list area
disapproves of the presented user profile then a match is not 15 1202 , search area 1204 , and suggestion area 1206 . For
made and , at step 1016 , matching server 20 will not allow      example , user 14 may locate a connection in connection list
communication between the two users . If first user 14           area 1202 by typing a user handle in search area 1204 . User
expresses approval for the presented user profile at step           14 may then add the connection to suggestion area 1206 . In
1008 , then matching server 20 will check if second user 14         some embodiments, user 14 may drag the connection from
represented by the presented user profile has already 20 connection list area 1202 to suggestion area 1206 .
expressed a preference for first user 14 at step 1010 . If            FIG . 12C illustrates suggestion area 1206 displaying a
matching server 20 detects a mutual expression of approval          proposed match between two suggested users (i. e ., “ Jona
then a match is made between first and second users 14 .            than Smith ” and “Mary Major” ) . For example , user 14 may
Then , at step 1012 , matching server 20 allows private             locate a second connection in connect list area 1202 that user
communications between first and second users 14 . If a 25 14 believes is a match for the first connection . User 14 may
mutual expression of approval is not detected at step 1010 ,       add the second connection to suggestion area 1206 . When
then matching server 20 stores the preference of first user 14     both connections are added to suggestion area 1206 , match
regarding the presented user profile for future comparison ing server 20 may create a match between the two users and
and continues to step 1016 where private communications allow communication between them .
are not yet allowed .                                     30 FIG . 12D illustrates an example communication interface
   FIG . 11 is a flowchart depicting a method for enabling         between users of the matching system . User 14 is presented
communication between two users of the matching system             with chatbox 1208 for each of thematches that exist for user
of FIG . 1 based on a matching proposal suggested by a user,        14 . Users 14 may communicate with each other through chat
in accordance with a particular embodiment. At step 1102 ,         box 1208 . In some embodiments , users 14 may communi
matching server 20 receives interactions from first user 14 . 35 cate through SMSmessages, e -mail , telephone calls, online
Interactions from first user 14 may include identification of       voice communication sessions , and /or video communication
user profiles for two other users 14 . For example , Harry is       sessions .
connected to both Bob and Sally within social networking         Modifications, additions, or omissions may be made to the
platform 50. Harry believes Bob and Sally are a good match     methods described herein (such as those described above
for each other and generates a matching proposal requesting 40 with respect to FIGS. 5 , 10 and 11 ) without departing from
matching server 20 to create a match between Bob and Sally .        the scope of the disclosure . For example, the steps may be
   At step 1104 , in some embodiments , matching server             combined , modified , or deleted where appropriate , and addi
validates the suggested matching proposal between second            tional steps may be added . Additionally , the steps may be
and third users 14 . For example , matching server 20 verifies      performed in any suitable order without departing from the
that Bob ' s profile indicates that he wants to be matched with 45 scope of the present disclosure .
a woman , and Sally 's profile indicates that she wants to be          Although several embodiments have been illustrated and
matched with a man . Matching server may also verify that           described in detail, it will be recognized that substitutions
Sally has not previously expressed disapproval for Bob . If         and alterations are possible without departing from the spirit
matching server 20 determines the suggested matching                and scope of the appended claims.
proposal is valid , matching server 20 creates the match and 50
allows communication between the users 14 suggested to be             What is claimed is:
matched at step 1106 . If matching server 20 determines the   1. A computer implemented method of profile matching ,
suggested matching proposal is not valid , matching server comprising:
20 does not create a match and does not allow communi         electronically receiving a plurality of user online dating
cation between second and third users 14 at step 1108 . In 55    profiles, each profile comprising traits of a respective
some embodiments, step 1104 may not be performed . For           user and associated with a social networking platform ;
example , if a matching proposal is suggested , then matching electronically receiving a first request for matching, the
server 20 may perform step 1106 with respect to the users        first request electronically submitted by a first user
suggested to be matched .                                               using a first electronic device ;
  FIGS. 12A - D depict embodiments of a user interface . In 60        determining a set of potential matches from the plurality
some embodiments, the interface allows user 14 of terminal              of user online-dating profiles for the first user in
10 to enable communication between other users 14 by                    response to receiving the first request ;
suggesting a matching proposal to matching server 20 .                causing the display of a graphical representation of a first
   FIG . 12A illustrates one embodiment of an interface for              potential match of the set of potential matches to the
proposing a match between two users . The interface is 65                first user on a graphical user interface of the first
divided into three sections : connection list area 1202 , search         electronic device , the first potential match correspond
area 1204 , and suggestion area 1206 . Connection list area              ing to a second user ;
      Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 27 of 30


                                                  US 9,733,811 B2
                           25                                                                  26
determining that the first user expressed a positive pref           3 . The method of claim 1, wherein the set of potential
   erence indication regarding the first potential match at       matches for the first user comprises one or more potential
   least by determining that the first user performed a first     matches that are each associated with a geographic location
   swiping gesture associated with the graphical represen     within a threshold distance of a geographic location asso
   tation of the first potentialmatch on the graphical user 5 ciated with the first user, the threshold distance being a
   interface ;                                                 stored value .
in response to determining that the first user expressed the     4 . A non - transitory computer-readable medium compris
   positive preference indication regarding the first poten   ing instructions that , when executed by a processor, are
   tial match , automatically causing the graphical user configured to :
   interface to display a graphical representation of a          electronically receive a plurality of user online -dating
   second potential match of the set of potential matches            profiles , each profile comprising traits of a respective
   instead of the graphical representation of the first               user and associated with a social networking platform ;
  potential match ;                                                 electronically receive a first request for matching, the first
determining that the second user has expressed a positive 15           request electronically submitted by a first user using a
  preference indication regarding the first user after                 first electronic device ;
  determining that the first user expressed the positive            determine a set of potential matches from the plurality of
  preference indication regarding the first potential                 user online -dating profiles for the first user in response
  match ;                                                             to receiving the first request;
determining to enable communication between the first 20            cause the display of a graphical representation of a first
  user and the second user in response to determining that            potential match of the set of potential matches to the
  both the first user has expressed the positive preference            first user on a graphical user interface of the first
  indication regarding the second user and the second                 electronic device , the first potential match correspond
  user has expressed the positive preference indication               ing to a second user ;
   regarding the first user ;                      25               determine that the first user expressed a positive prefer
in response to determining to enable communication                    ence indication regarding the first potential match at
  between the first user and the second user, causing the              least by determining that the first user performed a first
  graphical user interface to display to the first user both           swiping gesture associated with the graphical represen
  the graphical representation of the first potentialmatch ;           tation of the first potential match on the graphical user
determining that the first user expressed a negative pref- 30         interface ;
  erence indication regarding a second potentialmatch of            in response to the determination that the first user
  the set of potentialmatches at least by determining that             expressed the positive preference indication regarding
  the first user performed a second swiping gesture                   the first potential match , automatically cause the
  associated with a graphicalrepresentation of the second              graphical user interface to display a graphical repre
  potential match on the graphical user interface , the 35            sentation of a second potential match of the set of
   second swiping gesture different than the first swiping            potentialmatches instead of the graphical representa
  gesture , the second potential match corresponding to a              tion of the first potential match ;
  third user;                                                       determine that the second user has expressed a positive
determining to prevent communication between the first                preference indication regarding the first user after
  user and the third user in response to determining that 40          determining that the first user expressed the positive
  both the first user has expressed the positive preference           preference indication regarding the first potential
  indication regarding the second user and the second                 match ;
  user has expressed the positive preference indication             determine to enable communication between the first user
  regarding the first user ;                                           and the second user in response to the determination
determining that the first user expressed a positive pref- 45          that both the first user has expressed the positive
  erence indication regarding a third potential match of               preference indication regarding the second user and the
  the set of potential matches at least by determining that            second user has expressed the positive preference indi
  the first user performed the first swiping gesture asso              cation regarding the first user ;
  ciated with a graphical representation of the third               in response to the determination to enable communication
  potential match on the graphical user interface , the 50             between the first user and the second user, cause the
  third potential match corresponding to a fourth user;                graphical user interface to display to the first user both
  and                                                                 the graphical representation of the first potentialmatch ;
determining to prevent communication between the first              determine that the first user expressed a negative prefer
    user and the fourth user in response to determining that          ence indication regarding a second potential match of
     the fourth user has expressed a negative preference 55           the set of potential matches at least by determining that
    indication regarding the first user.                              the first user performed a second swiping gesture
 2 . The method of claim 1 , further comprising :                     associated with a graphical representation of the second
in response to determining that both the first user has               potential match on the graphical user interface , the
  expressed the positive preference indication regarding               second swiping gesture different than the first swiping
  the second user and the second user has expressed the 60             gesture , the second potentialmatch corresponding to a
  positive preference indication regarding the first user,             third user;
  causing the display of a graphical notification , on the          determine to prevent communication between the first
  graphical user interface of the first electronic device ,            user and the third user in response to determining that
  that a match exists between the first user and the second            both the first user has expressed the positive preference
  user, the graphical notification comprising a user inter - 65        indication regarding the second user and the second
  face control enabling the text area to be presented to the           user has expressed the positive preference indication
   first user.                                                         regarding the first user ;
        Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 28 of 30


                                                       US 9 ,733 ,811 B2
                               27                                                                  28
  determine that the first user expressed a positive prefer            determine that the second user has expressed a positive
    ence indication regarding a third potentialmatch of the              preference indication regarding the first user after
    set of potentialmatches at least by determining that the             determining that the first user expressed the positive
     first user performed the first swiping gesture associated           preference indication regarding the first potential
     with a graphical representation of the third potential 5            match ; and
     match on the graphical user interface , the third poten           determine to enable communication between the first user
    tial match corresponding to a fourth user; and                        and the second user in response to the determination
  determine to prevent communication between the first                    that both the first user has expressed the positive
      user and the fourth user in response to determining that            preference indication regarding the second user and the
      the fourth user has expressed a negative preference 10              second user has expressed the positive preference indi
      indication regarding the first user.                                cation regarding the first user ;
  5 . Themedium of claim 4 , further comprising instructions           in response to the determination to enable communication
configured to , in response to the determination that both the            between the first user and the second user, cause the
first user has expressed the positive preference indication
regarding the second user and the second user has expressed 15            graphical user interface to display to the first user both
the positive preference indication regarding the first user,              the graphical representation of the first potential match ;
cause the display of a graphical notification , on the graphical       determine that the first user expressed a negative prefer
user interface of the first electronic device, that a match               ence indication regarding a second potential match of
exists between the first user and the , second user, the                  the set of potentialmatches at least by determining that
graphical notification comprising a user interface control 20             the first user performed a second swiping gesture
enabling the text area to be presented to the first user.                 associated with a graphical representation of the second
   6 . The medium of claim 4 , wherein the set of potential               potential match on the graphical user interface , the
matches for the first user comprises one or more potential                second swiping gesture different than the first swiping
matches that are each associated with a geographic location               gesture, the second potentialmatch corresponding to a
within a threshold distance of a geographic location asso - 25            third user;
ciated with the first user, the threshold distance being a             determine to prevent communication between the first
stored value .                                                            user and the third user in response to determining that
   7 . A system for profile matching , comprising :                       both the first user has expressed the positive preference
  an interface operable to :                                              indication regarding the second user and the second
  electronically receive a plurality of user online dating 30             user has expressed the positive preference indication
     profiles, each profile comprising traits of a respective             regarding the first user ;
     user and associated with a social networking platform ;           determine that the first user expressed a positive prefer
   electronically receive a plurality of user online- dating              ence indication regarding a third potential match of the
     profiles, each profile comprising traits of a respective             set of potentialmatches at least by determining that the
     user and associated with a social networking platform ; 35          first user performed the first swiping gesture associated
   electronically receive a first request for matching , the first       with a graphical representation of the third potential
     request electronically submitted by a first user using a            match on the graphical user interface , the third poten
     first electronic device ; and                                       tial match corresponding to a fourth user ; and
  a processor coupled to the interface and operable to :               determine to prevent communication between the first
  determine a set of potential matches from the plurality of 40           user and the fourth user in response to determining that
     user online -dating profiles for the first user in response          the fourth user has expressed a negative preference
     to receiving the first request;                                      indication regarding the first user.
  cause the interface to display a graphical representation of        8 . The system of claim 7 , the processor further operable
    a first potentialmatch of the set of potentialmatches to     to ,   in response to the determination that both the first user
    the first user on a graphical user interface of the first 45 has expressed the positive preference indication regarding
    electronic device, the first potential match correspond      the second user and the second user has expressed the
    ing to a second user;                                        positive    preference indication regarding the first user, cause
  determine that the interface has received a positive pref      the    display of a graphical notification , on the graphical user
    erence indication from the first user regarding the first interface of the first electronic device , that a match exists
    potential match at least by determining that the first se50 notification
                                                                 between the first user and the second user, the graphical
                                                                                 comprising a user interface control enabling the
    user performed a first swiping gesture associated with           text area to be presented to the first user.
     the graphical representation of the first potentialmatch           9 . The system of claim 7 , wherein the set of potential
     on the graphical user interface;                                matches for the first user comprises one or more potential
  automatically cause the interface to remove the presen
    tation of the first potential match from the graphical 55 matches that are each associated with a geographic location
    user interface in response to detecting the gesture and   within a threshold distance of a geographic location asso
    cause the interface to present, on the graphical user     ciated with the first user, the threshold distance being a
    interface , a second potential match of the set of poten  stored value .
    tial matches to the first user ;                                                * *        * *
                Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 29 of 30

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,733,811 B2                                                                                               Page 1 of 2
APPLICATION NO.             : 14/059192
DATED                       : August 15, 2017
INVENTOR(S)                 : Sean Rad et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Claims

         Column 25, Line 20, after "enable" insert --initial--.
         Column 25, Line 26, after "enable" insert --initial--.
         Column 25, Line 28, after second reference of "user", delete "both".
         Column 25, Line 31, after "regarding a", delete "second" and insert --third--.
         Column 25, Line 34, after "of the", delete "second" and insert --third--.
         Column 25, Line 37, after "the", delete "second" and insert --third--.
         Column 25, Line 39, delete "determining to prevent" and insert --preventing--.
         Column 25, Line 40, delete "in response to" and insert --after--.
         Column 25, Line 41, delete "both".
         Column 25, Line 41, delete "positive" and insert --negative--.
         Column 25, Line 42, after "the", delete "second user and the second".
         Column 25, Line 43, delete "user has expressed the positive preference indication".
         Column 25, Line 44, delete "regarding the first" and insert --third--.
         Column 25, Line 46, after "regarding a", delete "third" and insert --fourth--.
         Column 25, Line 49, after "representation of the", delete "third" and insert --fourth--.
         Column 25, Line 51, before "potential match", delete "third" and insert --fourth--.
         Column 25, Line 53, delete "determining to prevent" and insert --preventing--.
         Column 25, Line 54, delete "in response to" and insert --after--.
         Column 26, Line 43, after "enable" insert --initial--.
         Column 26, Line 49, after "enable" insert --initial--.
         Column 26, Line 51, after "first user", delete "both".
         Column 26, Line 54, after "regarding a", delete "second" and insert --third--.
         Column 26, Line 57, after "representation of the", delete "second" and insert --third--.
         Column 26, Line 60, after "the", delete "second" and insert --third--.
         Column 26, Line 62, delete "determine to".
         Column 26, Line 63, delete "in response to" and insert --after--.
         Column 26, Line 64, delete "both".


                                                                                      Signed and Sealed this
                                                                                Twenty-first Day of November, 2017
                                                                          .(~~·::·-.····---·-·....~

                                                                          (:;....//
                                                                                                               Joseph Mata!
                                                                                               Peiforming the Functions and Duties of the
                                                                                        Under Secretary of Commerce for Intellectual Property and
                                                                                        Director of the United States Patent and Trademark Office
           Case 6:21-cv-00147-ADA Document 15-2 Filed 04/22/21 Page 30 of 30

CERTIFICATE OF CORRECTION (continued)                                                           Page 2 of2
U.S. Pat. No. 9,733,811 B2

     Column 26, Line 64, delete "positive" and insert --negative--.
     Column 26, Line 65, delete "second user and the second".
     Column 26, Line 66, delete "user has expressed the positive preference indication".
     Column 26, Line 67, delete "regarding the first" and insert --third--.
     Column 27, Line 2, delete "third" and insert --fourth--.
     Column 27, Line 5, delete "third" and insert --fourth--.
     Column 27, Line 6, delete "third" and insert --fourth--.
     Column 27, Line 8, delete "determine to".
     Column 27, Line 9, delete "in response to" and insert --after--.
     Column 27, Line 19, after "first user and the" delete",".
     Column 27, Line 33, delete "electronically receive a plurality of user online-dating".
     Column 27, Line 34, delete "profiles, each profile comprising traits of a respective".
     Column 27, Line 35, delete "user and associated with a social networking platform;".
     Column 28, Line 6, after "enable", insert --initial--.
     Column 28, Line 12, after "enable", insert --initial--.
     Column 28, Line 14, after "first user", delete "both".
     Column 28, Line 17, after "regarding a", delete "second" and insert --third--.
     Column 28, Line 20, after "representation of the", delete "second" and insert --third--.
     Column 28, Line 23, after "gesture, the", delete "second" and insert --third--.
     Column 28, Line 25, delete "determine to".
     Column 28, Line 26, delete "in response to" and insert --after--.
     Column 28, Line 27, delete "both".
     Column 28, Line 27, after "expressed the", delete "positive" and insert --negative--.
     Column 28, Line 28, delete "second user and the second".
     Column 28, Line 29, delete "user has expressed the positive preference indication".
     Column 28, Line 30, delete "regarding the first" and insert --third--.
     Column 28, Line 32, delete "third" and insert --fourth--.
     Column 28, Line 35, delete "third" and insert --fourth--.
     Column 28, Line 36, delete "third" and insert --fourth--.
     Column 28, Line 38, delete "determine to".
     Column 28, Line 39, delete "in response to" and insert --after--.
     Column 28, Line 50, after "control enabling", delete "the" and insert --a--.
